Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 1 of 51




         Exhibit A
     Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 2 of 51




                                       CURRICULUM VITAE


                                       Brian R. Ott, M.D.


     Business Address:                 Neurology Department
                                       Rhode Island Hospital – APC 7
                                       593 Eddy Street
                                       Providence, RI 02903
     Business Telephone:               (401) 444-5745
     FAX:                              (401) 606-8555
     E-Mail:                           BOtt@lifespan.org
                                       Brian_Ott@brown.edu

EDUCATION:

     Undergraduate: Syracuse University, Syracuse, NY, Biology, BS
     1971-1975

     Medical School: Jefferson Medical College, Philadelphia, PA, Medicine, MD
     1975-1979

     Other degrees:   Brown University, Providence, RI, MA, ad eundem
     2015

POSTGRADUATE TRAINING:

     Internship:      Internal Medicine, Roger Williams General Hospital,
     1979-1980        Brown University School of Medicine, Providence, RI

     Residency:       Internal Medicine, Roger Williams General Hospital,
     1980-1982        Brown University School of Medicine, Providence, RI

     Residency:       Neurology, Longwood Program: Brigham and Women's, Beth Israel, Children’s,
     1982-1985        and V.A. Hospitals, Harvard University Medical School, Boston, MA

AWARDS AND HONORS:

     1975             Syracuse University, Phi Beta Kappa, Magna Cum Laude
     1979             Arthur Krieger Memorial Prize in Neurology, Jefferson Medical College
     1987             Greater Boston Physicians for Social Responsibility Code Blue Award, Co-recipient
     1990             Fellowship, American College of Physicians
     1991             Surdna Foundation Fellowship, Brown University Center for Gerontology and Health
                      Care Research
     1998             Membership, American Neurological Association
     1998             Fellowship, American Academy of Neurology
     1999             Honorary Brian Ott Annual Alzheimer Research Symposium founded by the RI Chapter,
                      Alzheimer’s Association; recognized by Lieutenant Governor’s Office, State of RI
     1999             Excellence in Teaching Award, Brown University Geriatric Psychiatry Program
     2002-            Who’s Who in Medicine and Healthcare, 4th edition

                                                  1
     Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 3 of 51




      2003-       Who’s Who in America, 58th edition
      2004-       Best Doctors in America, Neurology
      2011-       Adjunct Professor of Pharmacy Practice, University of Rhode Island
      2013        Appointment by Governor Lincoln Chafee to the Rhode Island Advisory Commission on
                  Aging
      2013        Fellowship, American Neurological Association
      2013        Jerome Ely Award for article of the year, Human Factors
      2014        Dean’s Excellence in Teaching Award, Alpert Medical School of Brown University
      2017-       Adjunct Professor of Neuroscience, University of Rhode Island
      2018        Milton Hamolsky Lifetime Achievement Award, Rhode Island American College of
                  Physicians

PROFESSIONAL LICENSES & BOARD CERTIFICATIONS:

      1980        Diplomate National Board of Medical Examiners
      1981-       Rhode Island License Registration, #5819
      1985-1989   Massachusetts License Registration, #54356
      1982-       American Board of Internal Medicine, #85014
      1987-       American Board of Psychiatry and Neurology, #29864
      1994-2004   Geriatric Medicine Added Qualifications, American Board of Internal Medicine,
                  #085014
      2004-2014   Geriatric Medicine Added Qualifications, American Board of Internal Medicine,
                  Recertification

ACADEMIC APPOINTMENTS:

      1982-1985   Clinical Fellow in Neurology, Harvard University Medical School
      1989-1996   Assistant Professor, Department of Clinical Neurosciences, Brown University Medical
                  School
      1996-2002   Associate Professor, Department of Clinical Neurosciences, Brown University Medical
                  School
      2002-2009   Professor, Department of Clinical Neurosciences, Brown University Medical School
      2009-       Professor, Department of Neurology, Warren Alpert Medical School, Brown University
      2011-       Adjunct Professor of Pharmacy Practice, University of Rhode Island
      2017-       Adjunct Professor of Neuroscience, University of Rhode Island

HOSPITAL APPOINTMENTS:

      1985-1989   Active Staff, Addison Gilbert Hospital, Gloucester, MA
      1985-1989   Courtesy Staff, Hunt Memorial Hospital, Danvers, MA
      1985-1989   Active Staff, Beverly Hospital, Beverly, MA
      1989-1990   Associate Active Staff, Roger Williams Medical Center, Providence, RI
      1990-1992   Consultant Staff, U.E. Zambarano Memorial Hospital, Wallum Lake, RI
      1990-1996   Active Staff, Roger Williams Medical Center
      1997-2005   Courtesy Staff, Roger Williams Medical Center
      1996-2005   Active staff, Memorial Hospital of Rhode Island, Pawtucket, RI
      1994-2005   Consultant Staff, Rhode Island Hospital, Providence, RI
      2005-2009   Consultant Staff, Memorial Hospital of Rhode Island
      2000-       Consultant Staff, Miriam Hospital, Providence, RI
      2005-       Active Staff, Rhode Island Hospital
      2009-       Courtesy Staff, Memorial Hospital of Rhode Island
      2010-       Consultant Staff, Women’s and Infants Hospital, Providence, RI


                                               2
     Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 4 of 51




JOURNAL REVIEWER

     1985          Kidney International
     1996-         Journal of Neuropsychiatry and Clinical Neurosciences
     1998-         Neurology
                   Member, Neurology Reviewer Network
     2002          Journal of Gerontology: Medical Sciences
     2002-         Alzheimer Disease and Associated Disorders
     2002-         Health and Quality of Life Outcomes
     2000-         Journal of the International Neuropsychological Society
     2003          Women’s Health in Primary Care
     2004-         Journal of the American Geriatrics Society
     2004-         Journal of Geriatric Psychiatry and Neurology
     2004-         Journal of the American Medical Association
     2005          Neuropsychopharmacology
     2005-         International Journal of Geriatric Psychiatry
     2006          Neuropsychology
     2006-         Canadian Medical Association Journal
     2008-         Dementia & Geriatric Cognitive Disorders
     2011-         Aging Health
     2011-         Journal of Alzheimer’s Disease
     2011-         Accident Analysis & Prevention
     2011-         Alzheimer’s & Dementia
     2011          Psychopharmacology
     2012          Journal of Neurology, Neurosurgery, and Psychiatry
     2013-         Neurobiology of Aging
     2014          Alzheimer’s Research and Therapy
     2015-         Neurology: Clinical Practice
     2016          International Journal of Injury Control and Safety Promotion
     2016          Journal of the American Medical Association: Internal Medicine
     2016-         Annals of Neurology
     2016          Journal of General Internal Medicine
     2017          Gerontology

GRANT REVIEWER

     1998          The Wellcome Trust, London, England
     2005-         Alzheimer’s Society, United Kingdom
     2006          Netherlands Organization for Scientific Research
     2007          Michael Smith Foundation for Health Research, Canada
     2007          Medical Research Council, United Kingdom
     2007-         Alzheimer’s Association
     2007          Pilot grant program, Indiana Alzheimer Disease Center
     2008          Neurological, Aging and Musculoskeletal Epidemiology Study Section, NIH/NIA
     2009          Cognition and Perception Study Section, NIH/NIA
     2009          Research Foundation – FWO, Flanders, Belgium
     2009          Canada Excellence Research Chairs Program
     2010          Special Emphasis Panel, Aging and Mobility, NIH/NIA
     2011          Small Business Panel: Clinical Neurophysiology, Devices, Auditory Devices and
                   Neuroprosthesis Study Section, NIH/NIA
     2013          Physicians' Services Incorporated Foundation, Canada

                                                3
     Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 5 of 51




     2013          Special Emphasis Panel, Epidemiology and Genetics Study Section, NIH/NEI
     2014          Special Emphasis Panel, Population Sciences and Epidemiology Study Section, NIH/NIA
     2014          Special Emphasis Panel, Child Psychopathology and Developmental Disabilities Study
                   Section, NIH
     2017          Kansas City Area Life Sciences Institute (KCALSI)
     2018          Special Emphasis Panel, Revision Requests for ADCCs and ADRCs, NIH/NIA

OTHER APPOINTMENTS:

     1987-1989     Director of Medical Education, Beverly Hospital
     1991-         Faculty Associate, Brown University Center for Gerontology and Health Care Research
     1994-1997     Medical Director, Courtyard Assisted Living For Alzheimer's Resident's Unit and
                   advisory board member, The Village At Waterman Lake, Greenville, RI
     1995          Consultant, Health Economics Research
     1996-2005     Associate Chief of Neurology, Memorial Hospital of Rhode Island
                             2005     Interim Chief of Neurology, Memorial Hospital of Rhode Island
     1996-1999     Contributor and reviewer for American Board of Internal Medicine Certification Program
                   (Geriatric Medicine examinations)
     1999-         Core faculty member, Brown University Center for Primary Care & Prevention
     1999 & 2002   Guest editor, Medicine & Health/Rhode Island
     2000-         Steering Committee member, Alzheimer’s Disease Cooperative Study
                   2005- Internal Ethics subcommittee
     2000-         Faculty member, Brown University Brain Science Program
     2002-         Journal Editorial Board, Neurological Disease section, for Health and Quality of Life
                   Outcomes
     2003-2008     Core faculty and Steering Committee member, Brown University Dementia Research
                   Program (T-32)
     2004-         Steering Committee member, Alzheimer’s Disease Neuroimaging Initiative
     1991-1996     Director of the Alzheimer's Disease and Memory Disorders Center, Roger Williams
                   Medical Center
     1996-2005     Director of the Alzheimer's Disease & Memory Disorders Center, Memorial Hospital of
                   Rhode Island
     2005-         Director of the Alzheimer's Disease & Memory Disorders Center, Rhode Island Hospital
     2005-         Director of the Behavioral Neurology and Memory Disorders Division, Rhode Island
                   Hospital Department of Neurology
     2009-2016     Journal Editorial Board, Neurology Research International
     2011-2012     Associate Editor, The Journal of Alzheimer’s Disease
     2011-2015     The Vascular Impairment of Cognition Classification Consensus Study (VICCCS)
                   member
     2013-2014     Board of Directors member, The Neurology Foundation of Rhode Island
     2013-         Rhode Island Governor’s Advisory Commission on Aging member
                             2016- Co-chair, The Isolated Seniors Subcommittee
     2015          Scientific Review Committee, 8th International Driving Symposium on Human Factors
                   in Driver Assessment, June 22-25, Salt Lake City
     2015          Chair, External advisory committee for driving and dementia research. Washington
                   University
     2015-         Research partnership with the Alzheimer’s Therapeutic Research Institute (ATRI)
     2015-         Semi-Annual Rhode Island Regional Research Meeting planning committee member
     2016          Reviewer, Older Driver Management Program, National Highway Traffic Safety
                   Administration
     2017-         Journal editorial board, Alzheimer's & Dementia: Diagnosis, Assessment and Disease
                   Monitoring
     2017-         NFL Concussion Settlement Program: Qualified MAF Physician

                                                4
     Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 6 of 51




      2018-        Executive Committee for the Rhode Island State Plan for Alzheimer’s
                           Disease

HOSPITAL COMMITTEES:

      1990-1997    Library, Roger Williams Medical Center
      1991-1997    Outpatient Practice, Roger Williams Medical Center
      1993-1997    Pharmacy and Therapeutics, Roger Williams Medical Center
      1998-2000    Bioethics, Memorial Hospital of Rhode Island
      1999-2003    Human Subjects in Research, Memorial Hospital of Rhode Island
                            2002-2003         Chairman
      2006-2007    Ad Hoc Committee for Credentialing the Aging Physician, Rhode Island Hospital

UNIVERSITY COMMITTEES:

      1991-1999    Teaching Scholars, Brown University School of Medicine
      1991-        Fellowships, Brown University School of Medicine, Department of Clinical
      1993         Search Committee for director of Neuropsychology, Roger Williams Hospital,
      1997-        Resident education, Brown University School of Medicine, Department of Clinical
                   Neurosciences
      1998         Search Committee for staff neurologist and Brown University full time faculty position
      1998         Student clerkship committee leader, Brown University School of Medicine, Department
                   of Clinical Neurosciences
      1998-2002    Medical Committee on Academic Standing, Brown University School of Medicine
      2001-2003    Search Committee chairperson for staff neurologist and Brown University full time
                   faculty position at Memorial Hospital
      2002-        Appointments & Promotions Committee, Brown Medical School Department of
                   Neurology
      2006         Search Committee for vacancies in Post-Doctoral Training Program in Dementia
                   Research
      2007         Committee for Medical Faculty Affairs Task Force, Brown Medical School
      2007-2009    Search Committee chairperson for staff neurologist and Brown Medical School full time
                   faculty position at Rhode Island Hospital
      2010-2011    Brown Neurology Clerkship working group leader
      2015-2017    Search Committee chairperson for staff neurologist and Brown University full time
                   faculty position at Rhode Island Hospital

MEMBERSHIP IN SOCIETIES:

      1983-1985    Boston Society of Psychiatry & Neurology
      1987-1989    Massachusetts Medical Society
      1986-1991    Physicians for Social Responsibility
      1995-2000    American Neuropsychiatric Association
      1996-1998    American Medical Directors Association
      1982-        American College of Physicians
                   2008-2016        Executive Council member, Rhode Island Chapter
                   2012-            Program Planning Committee, Rhode Island Chapter
                   2014-            National ACP Chapter Leader Network
      1983-        American Academy of Neurology
                   1992             Clinical Practice Committee of the Geriatric Neurology Section
                   1999             Member, Consortium of Neurology Clerkship Directors
                   2010             Driving Risk in Dementia Dissemination Panel
      1989-        Rhode Island Neurological Association

                                                5
        Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 7 of 51




        1990-             Alzheimer's Association, Rhode Island Chapter
                          1993-1999       Board of Directors, Alzheimer's Association, Rhode Island Chapter
                          1994            Education committee chairperson
                          1995-1999       President
        1998-             American Neurological Association
        2010-             Alzheimer's Association International Society to Advance Alzheimer's Research and
                          Treatment
PUBLICATIONS:

1. Ott BR, Libbey P, Ryter RJ, Trebbin WM. The treatment of schistosome induced glomerulonephritis. Arch
Intern Med. 143:1477-1479, 1983.

2. Ott BR, Zamani A, Kleefield J, Funkenstein H. The clinical spectrum of hemorrhagic infarction. Stroke. 17:630-
37, 1986.

3. Ott BR. Bulimia in a patient with temporal lobe epilepsy. J Neurol Neurosurgery & Psychiatry. 54:1020-21,
1991. PMCID:1014638

4. Hirano M, Ott BR, Raps EC, Minetti C, Lennihan L, Libbey NP, Bonilla E, Hays AP. Acute quadriplegic
myopathy: A complication of treatment with steroids, nondepolarizing blocking agents, or both. Neurology.
42:2082-2087, 1992.

5. Ott BR, Lannon MC. Exacerbation of parkinsonism by tacrine. Clinical Neuropharmacology. 15:222-25, 1992.

6. Ott BR, Fogel BS. Measurement of depression in dementia: Self vs clinician rating. Int J Geriatr Psychiatry.
7:899-904, 1992.

7. Farlow M, Gracon SI, Hershey LA, The Tacrine Study Group. A controlled trial of tacrine in Alzheimer’s
disease. JAMA 268:2523- 2529,1992.

8. Ott BR, Saver JL. Unilateral amnesic stroke: Six new cases and a review of the literature. Stroke. 24:1033-1042,
1993.

9. Defusco DJ, O'Dowd P, Hokama Y, Ott BR. Coma due to ciguatera poisoning in Rhode Island. Am J Med.
95:240-243, 1993.

10. Ott BR, Ellias SA, Lannon MC. Quantitative assessment of movement in Alzheimer's disease. J Geriatr
Psychiatry Neurol. 8:71-75, 1995.

11. Ott BR. Leuprolide treatment of sexual aggression in a patient with dementia and the Kluver-Bucy syndrome.
Clinical Neuropharmacology. 18:443-447, 1995.

12. Rich SS, Friedman JH, Ott BR. Risperidone versus clozapine in the treatment of psychosis in six patients with
parkinson's disease and other akinetic-rigid syndromes. J Clin Psychiatry. 56:556-559, 1995.

13. Ott BR. The clinical importance of gender differences in the presentation and management of Alzheimer's
disease. Nursing Home Med. 4:1D-6D,1996.

14. Ott BR, Noto RB, Fogel BS. Apathy and loss of insight in Alzheimer's disease: A SPECT imaging study. J
Neuropsychiatry Clin Neurosciences. 8:41-46, 1996.

15. Ott BR, Tate CA, Gordon NM, Heindel WC. Gender differences in the behavioral manifestations of Alzheimer's
disease. J Am Geriatr Soc. 44:583-587, 1996.

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        Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 8 of 51




16. Ott BR, Lafleche G, Whelihan WM, Buongiorno GW, Albert MS, Fogel BS. Impaired awareness of deficits in
Alzheimer disease. Alzheimer Disease Assoc Dis. 10:68-76, 1996.

17. Ott BR, Thompson JA, Whelihan WM. Cognitive effects of flumazenil in patients with Alzheimer's disease. J
Clin Psychopharmacology. 16:400-402, 1996.

18. Ott BR, Faberman RS, Noto RB, Rogg JM, Hough TJ, Tung GA, Spencer PK. A SPECT imaging study of MRI
white matter hyperintensity in patients with degenerative dementia. Dementia Geriatr Cogn Disorders, 8:348-
354,1997.

19. Ott BR, Owen NJ. Complementary and alternative medicines for Alzheimer’s disease. J Geriatr Psychiatry
Neurol, 11:163-173, 1999.

20. Ott BR. Cognition and behavior in patients with Alzheimer’s disease. J Gender Specific Med, 2:63-69, 1999.

21. Paul R, Cohen R, Ott B, Zawacki T, Moser D, Davis J, Stone W. Cognitive and functional status in two
subtypes of vascular dementia. Neurorehabilitation, 15(3):199-205, 2000.

22. Ott BR, Lapane KL, Gambassi G. Gender differences in the treatment of behavior problems in Alzheimer’s
disease. Neurology, 54:427-432, 2000.

23. Fernandez HH, Lapane KL, Ott BR, Friedman JH, for the SAGE Study Group. Gender differences in the
frequency and treatment of behavior problems in Parkinson’s disease. Movement Disorders, 15:490-496, 2000.

24. Ott BR, Heindel WC, Whelihan WM, Caron MD, Piatt AL, Noto RB. A SPECT imaging study of driving
impairment in patients with Alzheimer’s disease. Dementia Geriatric Cogn Disorders, 11:153-160, 2000.
PMCID:3292192

25. Ott BR, Heindel WC, Tan Z, Noto RB. Lateralized cortical perfusion in women with Alzheimer’s disease. J
Gender Specific Med, 3:29-35, 2000.

26. Ott BR, Noto RB. Sensitivity of SPECT for the diagnosis of Alzheimer’s disease. Clin Gerontologist, 22(1):73-
82, 2000.

27. Paul R, Cohen R, Moser D, Ott BR, Gordon N, Zawacki T, Bell S, Stone W. Performance on the Mattis
Dementia Rating Scale among patients with vascular dementia: relationships to neuroimaging findings. J Geriatr
Psychiatry Neurol, 14(1):33-6, 2001

28. Moser DJ, Cohen RA, Paul R, Paulsen JS, Ott BR, Gordon N, Bell S, Stone W. Executive function and
magnetic resonance imaging subcortical hyperintensities in vascular dementia. Neuropsych Neuropsychol Behav
Neurol, 14(2):89-92, 2001

29. Paul R, Cohen R, Moser D, Ott BR, Zawacki T, Gordon N. Performance on the Hooper Visual Organizational
Test in patients diagnosed with subcortical vascular dementia: Relation to naming performance. Neuropsych
Neuropsychol Behav Neurol, 14(1):93-97, 2001.

30. Cohen RA, Paul RH, Zawacki TM, Sethi M, Ott BR, Moser DJ, Stone W, Noto R, Gordon N. Single photon
emission computed tomography, magnetic resonance imaging hyperintensity, and cognitive impairments in patients
with vascular dementia. J Neuroimaging, 11(3):253-260, 2001.

31. Ott BR, Lapane KL. Tacrine therapy is associated with reduced mortality in nursing home residents with
dementia. J Am Geriatric Soc, 50:35-40, 2002.

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        Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 9 of 51




32. Cahn-Weiner DA, Grace J, Ott BR, Fernandez HH, Friedman JH. Cognitive and behavioral features
discriminate between Alzheimer’s and Parkinson’s patients. Neuropsych Neuropsychol Behav Neurol, 15(2):79-87,
2002.

33. Paul RH, Cohen RA, Moser DJ, Zawacki T, Ott BR, Gordon N, Stone W. The Global Deterioration Scale:
relationships to neuropsychological performance and activities of daily living in patients with vascular dementia. J
Geriatr Psychiatry Neurol, 15(1):50-54, 2002.

34. Ready RE, Ott BR, Grace J, Fernandez I. The Cornell-Brown Scale for quality of life in dementia. Alzheimer
Dis Assoc Disord, 16(2):109-115, 2002.

35. Cohen RA, Paul R, Moser D, Stone W, Ott BR, Zawacki T, Gordon N. The relationship of MRI hyperintensities
and brain volume to cognitive function in vascular dementia. J Int Neuropsychol Soc, 8(6):743-752, 2002.

36. Ott BR, Belazi D, Lapane KL. Cognitive decline among female estrogen users in nursing homes. J Gerontol A
Biol Sci Med, 57(9):M594-M598, 2002.

37. Zawacki TM, Grace J, Paul RH, Moser DJ, Ott BR, Gordon N, Cohen RA. Behavioral problems as predictors of
functional abilities of vascular dementia patients. J Neuropsychiatry Clin Neurosci, 14(3):296-302,2002.

38. Ready RE, Ott BR, Grace J. Amnestic behavior in dementia: symptoms to assist in early detection and
diagnosis. J Am Geriatric Soc 51:32-37, 2003.

39. Ready RE, Grace J, Ott BR, Cahn-Weiner D. Apathy and executive dysfunction in mild cognitive impairment
and Alzheimer’s disease. Am J Geriatr Psychiatry, 11(2):222-228, 2003.

40. Paul RH, Cohen RA, Moser DJ, Ott BR, Sweet L, Browndyke J, Malloy P, Garrett K. Clinical correlates of
cognitive decline in vascular dementia. Cogn Behav Neurol, 16(1):40-46,2003.

41. Ott BR, Heindel WC, Papandonatos GD. A survey of voter participation by cognitively impaired elderly
patients. Neurology, 60:1546-1548, 2003.

42. Ready RE, Ott BR. Quality of life measures for dementia. Health Qual Life Outcomes, Apr 23;1(1):11, 2003.
PMCID:155631

43. Sweet LH, Paul RH, Cohen RA, Moser D, Ott BR, Gordon N, Browndyke J, Shah P, Garrett KD.
Neuroimaging correlates of Dementia Rating Scale performance at baseline and 12-month follow-up among patients
with vascular dementia. J Geriatr Psych Neurol 16(4):240-244, 2003.

44. Cahn-Weiner DA, Malloy PF, Rebok GW, Ott BR. Results of a randomized placebo-controlled study of
memory training for mildly impaired Alzheimer’s disease patients. Appl Neuropsychol 10(4):215-223, 2003.

45. Ott BR, Heindel WC, Whelihan WM, Caron MD, Piatt AL, DiCarlo MA. Maze test performance and reported
driving ability in early dementia. J Geriatr Psych Neurol. 16(3):151-155, 2003. PMCID:3292212

46. Ready RE, Ott BR, Grace J. Patient vs informant perspectives of quality of life in mild cognitive impairment
and Alzheimer’s disease. Int J Geriatr Psychiatry 19(3):256-265, 2004.

47. Ready RE, Ott BR, Grace J. Validity of informant reports about AD and MCI patients’ memory. Alz Disease
Assoc Disorders 18(1):11-16, 2004.




                                                          8
       Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 10 of 51




48. Festa-Martino E, Ott BR, Heindel WC. Interactions between phasic alerting and exogenous attentional
orienting: Effects of normal aging and Alzheimer’s disease. Neuropsychology 18(2):258-268, 2004.

49. Garrett KD, Browndyke JN, Whelihan W, Paul RH, DiCarlo M, Moser DJ, Cohen RA, Ott BR. The
neuropsychological profile of vascular cognitive impairment - no dementia: Comparisons to patients at risk for
cerebrovascular disease and vascular dementia. Arch Clin Neuropsychology, 19(6):745-757, 2004.

50. Brown LB, Ott BR. Driving and dementia: A review of the literature. J Geriatr Psychiatry Neurol 17(4):232-
240, 2004. PMCID:3292210

51. Stern RA, Davis JD, Rogers BL, Smith KM, Harrington CJ, Ott BR, Jackson IM, Prange AJ. Preliminary study
of the relationship between thyroid status and cognitive and neuropsychiatric functioning in euthyroid patients with
Alzheimer’s dementia. Cognitive and Behavioral Neurology. 17(4):219-223, 2004.

52. Brown LB, Ott BR, Papandonatos GD, Sui Y, Ready RE, Morris JC. Prediction of on-road driving
performance by patients with mild Alzheimer’s disease. J Am Geriatr Soc. 53(1):94-98, 2005. PMCID:3292197

53. Gunstad J, Brickman AM, Paul RH, Browndyke J, Moser DJ, Ott BR, Gordon N, Cohen RA. Progressive
morphometric and cognitive changes in vascular dementia. Arch Clin Neuropsychology. 20:229-241, 2005.

54. Brown LB, Stern RA, Cahn-Weiner DA, Rogers B, Meser MA, Lannon MC, Maxwell C, Souza T, White T,
Ott BR. Driving scenes test of the Neuropsychological Assessment Battery (NAB) and on-road driving performance
in aging and very mild dementia. Arch Neuropsychology. 20:209-215, 2005. PMCID:3292213

55. Gasper MC, Ott BR, Lapane KL. Is donepezil therapy associated with reduced mortality in nursing home
residents with dementia? Am J Geriatric Pharmacotherapy 3(1):1-7, 2005.

56. Ott BR, Anthony D, Papandonatos GD, Sui Y, D’Abreu A, Burock J, Curtin A, Wu C-K, Morris JC. Clinician
assessment of the driving competence of patients with dementia. J Am Geriatric Soc 53(5):829-833, 2005.
PMCID:3292185

57. Grace J, Amick MM, D’Abreu A, Festa-Martino EK, Heindel WC, Ott BR. Neuropsychological deficits
associated with driving performance in Parkinson's and Alzheimer's disease. J Int Neuropsychol Soc 11(6): 766-775,
2005. PMCID:3292203

58. Peskind E, Potkin S, Pomara N, Ott BR, McDonald S, Xie Y, Gergel I. Memantine treatment in mild to
moderate Alzheimer’s disease: A randomized controlled trial. Am J Geriatr Psychiatry 14:704-715, 2006.

59. Ready RE, Ott BR, Grace J. Insight and cognitive impairment: effects on quality of life reports from mild
cognitive impairment and Alzheimer’s disease patients. Am J Alzheimers Dis Other Demen 21(4):242-248, 2006.

60. Amick MM, D’Abreu A, Moro-de-Casillas ML, Chou KL, Ott BR. Excessive daytime sleepiness and on-road
driving performance in individuals with Parkinson’s disease. J Neurological Sci 252(1):13-15, 2006.

61. Ready RE, Ott BR, Grace J. Factor structure of patient and informant ratings on the Dementia Quality of Life
Instrument. Aging Neuropsychology Cognition 14(2):144-154, 2007.

62. Ott BR, Blake LM, Sauter M, Graham SM, Bell JM. Open label, multicenter, 28-week extension study of the
safety and tolerability of memantine in patients with mild to moderate Alzheimer’s disease. J Neurol 254(3):351-
358, 2007.

63. Bhalla RK, Papandonatos GD, Stern RA, Ott BR. Anxiety of Alzheimer’s disease patients before and after a
standardized on-road driving test. Alzheimer’s & Dementia 3(1):33-39, 2007. PMCID:3598633

                                                         9
       Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 11 of 51




64. Pomara N, Ott BR, Peskind E, Resnick EM. Treatment of cognitive symptoms with memantine in mild to
moderate Alzheimer's disease: Secondary analyses from a placebo-controlled randomized trial. Alzheimer Dis
Assoc Disord 21(1):60-64, 2007.

65. Ready RE, Ott BR. Integrating patient and caregiver reports on the Cornell-Brown Quality of Life scale. Am J
Alzheimer’s Dis Other Demen 22(6):528-34, 2007.

66. Amick MM, Grace J, Ott BR. Visual and cognitive predictors of driving safety in Parkinson’s disease patients.
Arch Clin Neuropsychol 22(8):957-67, 2007. PMCID:3555123

67. Ott BR, Heindel WC, Papandonatos GD, Festa EK, Davis JD, Daiello LA, Morris JC. A longitudinal study of
drivers with Alzheimer disease. Neurology 70(14):1171-1178, 2008. PMCID:3664938

68. Ott BR, Festa EK, Amick M, Grace J, Davis J, Heindel WC. Computerized maze navigation and on-road
performance by drivers with dementia. J Geriatr Psychiatry Neurol 21(1):18-25, 2008. PMCID:3292182

69. Smith MM, Tremont G, Ott BR. Telephone administered dementia screening. Am J Alz Disease Other
Dementias 24(1):58-69, 2009.

70. Daiello LA, Ott BR, Lapane KL, Reinert SE, Machan JT, Dore DD. Effect of discontinuing cholinesterase
inhibitor therapy on behavioral and mood symptoms in nursing home patients with dementia. Am J Geriatr
Pharmacother 7(2):74-83, 2009.

71. Ott BR, Daiello LA. How does dementia affect driving in older patients? Aging Health, 6(1):77-85, 2010.
PMCID: PMC2847266

72. Ott BR, Cohen RA, Gongvatana A, Okonkwo OC, Johanson CE, Stopa EG, Donahue JE, Silverberg GD. Brain
ventricular volume and cerebrospinal fluid biomarkers of Alzheimer’s disease. J Alzheimers Dis 20(2):647-657,
2010. PMCID:3078034

73. Carr D, Ott BR. The older driver with cognitive impairment: “It’s a very frustrating life.” JAMA 303(6):1632-
1641, 2010. PMCID:2915446

74. Daiello LA, Ott BR, Festa EK, Friedman M, Miller LA, Heindel WC. Effects of cholinesterase inhibitors on
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Disorders, Amsterdam, The Netherlands, July 20, 1998.

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Conference of the American College of Physicians, Warwick, RI, April 6, 1999.

20. Ott BR, Lapane K, Gambassi G. Gender differences in the behavior problems and treatment of Alzheimer’s
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Canada, April 22, 1999.

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dementia. The 28th Annual Meeting of the International Neuropsychological Society, Denver, Colorado, February 9,
2000.

22. Ott BR, Heindel WC, Tan Z, Noto RB. Laterality differences in cerebral blood flow between men and women
with Alzheimer’s disease. The 11th Annual Meeting of the American Neuropsychiatric Association, Fort Meyers,
Florida, February 20, 2000.

                                                       18
       Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 20 of 51




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frontal lobe functioning in dementia. Brain and Cognition, 2000. The 10th Annual Rotman Research Institute
Conference on the Frontal Lobes, Toronto, Canada, March 20, 2000.

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Alzheimer’s disease. The 7th Annual Meeting of the Cognitive Neuroscience Society, San Francisco, April 11,
2000.

25. Ott BR, Lapane KL, Owens NJ. Sex hormone drugs and behavioral problems in male nursing home residents.
Neurobiol Aging 21(1S):238, 2000. The World Alzheimer Congress 2000, Washington, DC, July 12, 2000.

26. Ready RE, Ott BR, Grace J, Fernandez I. The Cornell-Brown Scale for quality of life in dementia. The Brown
University Department of Psychiatry annual research symposium, February 2001.

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The 8th Annual Meeting of the Cognitive Neuroscience Society, New York, March 25-27, 2001.

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in Vision and Ophthalmology, New Orleans, April 29-May 4, 2001.

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Arch Clin Neuropsychol 2001. The National Academy of Neuropsychology, San Francisco, November 1, 2001.

31. Zawacki TM, Grace J, Paul R, Moser DJ, Ott BR, Gordon N, Cohen RA. Behavioral problems as predictors of
functional abilities of vascular dementia patients. The National Academy of Neuropsychology, San Francisco,
November 1, 2001.

32. Ready RE, Ott BR, Grace J. Amnestic behavior in dementia: symptoms to assist in early detection and
diagnosis. 69th Annual Kenney Research Day, Memorial Hospital of Rhode Island, Pawtucket, RI, February 1, 2002.

33. Cahn-Weiner D, Grace J, Ott B, Friedman J, Fernandez H. Cognitive and behavioral features of Alzheimer’s
disease and Parkinson’s disease patients. International Neuropsychological Society 30th Annual Meeting, Toronto,
February 13-16, 2002.

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intervention for Alzheimer’s disease patients. J Int Neuropsychol Soc 2002;8:176. The International
Neuropsychological Society 30th Annual Meeting, Toronto, February13-16, 2002.

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Maze test performance and reported driving ability in early dementia, 2002 American Geriatrics Society Annual
Meeting, Washington, May 8-12, 2002.
         – Selected for the Presidential Poster Session

36. Ready RE, Ott BR, Grace J. Apathy and depression predict patient and caregiver ratings of quality of life in
mild cognitive impairment and Alzheimer’s disease. The 8th International Conference on Alzheimer’s Disease and
Related Disorders, Stockholm, Sweden, July 20-25, 2002.

                                                        19
       Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 21 of 51




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facilities. Drug Information Association Fourth Annual Workshop on Pharmaceutical Outcomes Research, Newport,
October 17-18, 2002.

38. Ready RE, Ott BR, Grace J. Quality of life in mild cognitive impairment and Alzheimer’s disease:
Discrepancies between caregiver and patient reports. Kenney Research Day Symposium, Memorial Hospital of
Rhode Island, Pawtucket, RI, February 7, 2003.

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thyroxine in the treatment of Alzheimer’s dementia. J Neuropsychiatry Clin Neurosci, 15(2):268. 14th Annual
Meeting of the American Neuropsychiatric Association, Honolulu, February 1-4, 2003.

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Discrepancies between caregiver and patient reports. J Int Neuropsychol Soc, 9:226. The International
Neuropsychological Society 31st Annual Meeting, Honolulu, February 5-8, 2003.

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Alzheimer’s disease. The International Neuropsychological Society 31st Annual Meeting, Honolulu, February 5-8,
2003.

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Meeting, Bal Harbour, FLA, February 23, 2004.

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road driving performance by patients with mild dementia. J Neuropsychiatry Clin Neurosci 16(2):220,2004. The
American Neuropsychiatric Association 15th Annual Meeting, Bal Harbour, FLA, February 22, 2004.

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and safe for the treatment of mild to moderate Alzheimer’s disease: A randomized controlled trial. The 7th Annual
Meeting of the College of Psychiatric and Neurologic Pharmacists, Chicago, April 23, 2004.

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and safe for the treatment of mild to moderate Alzheimer’s disease: A randomized controlled trial. J European
Neuropsychpharmacol 14 (suppl 3): S332, 2004. The 17th European College of Neuropsychopharmacology
Congress, Stockholm, Sweden, October 11, 2004.

46. Ready RE, Ott BR, Grace J. Factor Structure of Patient and Informant Ratings on the Dementia Quality of Life
Instrument. International Neuropsychological Society 33rd Annual Meeting, St. Louis, February 2005.

47. Bhalla R, Stern R, Grace J, Ott BR. Alzheimer’s disease patients’ self-ratings of anxiety before and after an on-
road standardized driving test.
         – International Neuropsychological Society 33rd Annual Meeting, St. Louis, February 2005.
         – Brown University Dep. of Psychiatry 10th Annual Research Symposium, Providence, April 13, 2006

48. Amick MM, D’Abreu A, Grace J, Ott BR. A comparison of on-road driving performance in individuals with
Alzheimer’s disease and Parkinson’s disease. International Neuropsychological Society 33rd Annual Meeting, St.
Louis, February 2005.

49. Grace J, Amick MM, D’Abreu A, Festa-Martino E, Heindel WC, Ott BR. Relationship between

                                                         20
       Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 22 of 51




neuropsychological tests and on road driving in Parkinson’s disease. International Neuropsychological Society 33rd
Annual Meeting, St. Louis, February 2005.

50. Ready RE, Ott BR, Grace J. Insight in mild cognitive impairment and Alzheimer’s disease and assessment of
quality of life. The 16th Annual Meeting of the American Neuropsychiatric Association, Miami, Florida, February
2005.

51. Ott BR. Clinician and caregiver assessments of the driving competence of patients with dementia. 72nd Annual
Kenney Research Day Symposium. Pawtucket, RI, March 4, 2005.

52. Amick M, D’Abreu A, Moro-de-Casillas M, Chou K, Ott BR. Excessive daytime sleepiness and on-road driving
performance in individuals with Parkinson’s disease. The 9th International Congress of Parkinson’s Disease and
Movement Disorders, New Orleans, March 5-8, 2005.

53. Ott BR, Anthony D, Papandonatos GD, Sui Y, D’Abreu A, Burock J, Curtin A, Wu C-K, Morris JC. Clinician
assessment of the driving competence of patients with dementia.
         – American Association of Geriatric Psychiatry 18th Annual Meeting, San Diego, March 3-6, 2005.
         – Neurology 64(Suppl 1):A70, 2005. American Academy of Neurology 57th Annual Meeting, Miami,
         Florida, April 9-16, 2005.

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cognition in mild to moderate Alzheimer’s disease.
         – The 12th International Congress of the International Psychogeriatric Association, Stockholm, Sweden,
         September 20-24, 2005.
         – American Academy of Neurology 58th Annual Meeting, San Diego, CA, April 1-6, 2006.
         – American Neurological Association 131st Annual Meeting, Chicago, October 8, 2006.

55. Ott BR, Festa E, Amick M, Grace J, Davis J, Heindel WC. Computerized maze navigation and on-road
performance in drivers with dementia. Alzheimer’s & Dementia 2(3):S568, 2006. The 10th International Conference
on Alzheimer’s Disease and Related Disorders, Madrid, July 19, 2006.

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International Frontotemporal Dementia Conference, San Francisco, September 6, 2006.

57. Davis JD, Tremont G, Ott BR, Festa EK, Heindel WC. Longitudinal analysis of neuropsychological functioning
and on-road performance in drivers with mild dementia. The 35th Annual Meeting of the International
Neuropsychological Society, Portland, February 7-10, 2007.

58. Festa EK, Ott BR, Heindel WC. The effect of dual-task engagement on response-selection interference in aging
and Alzheimer’s disease. Cognitive Neuroscience Society 14th Annual Meeting, New York, May 5-8, 2007.

59. Wu CK, Bhalla RK, Grace J, Ott BR. Clinical application of MCI diagnosis in a dementia clinic – A study of
concordance. Alzheimer’s Disease Association International Conference on Prevention of Dementia. Alz Dementia
3(3):S142-143, 2007. Washington, DC, June 9-12, 2007. Alzheimer's & Dementia. 3(3): S142–S143, July 2007.

60. Ott BR, Heindel WC, Papandonatos GD, Festa EK, Davis JD, Daiello LA, Morris JC. A longitudinal study of
drivers with dementia. The 132nd Annual Meeting of the American Neurological Association, Washington, October
7-10, 2007. Ann Neurology 62(suppl 11): S22, 2007.
         – Selected for the Dementia Walking Tour

61. Smith MM, Daiello LA, Davis JD, Ott BR. Prediction of motor vehicle accidents in older adults enrolled in a
study of driving and dementia. The 26th Annual National Academy of Neuropsychology Conference, San Antonio,

                                                        21
       Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 23 of 51




October 25-28, 2007.

62. Daiello LA, Ott BR, Festa EK, Heindel WC. Cholinesterase inhibitors improve visual attention in drivers with
Alzheimer's disease.
         15th Annual Hospital Research Celebration. Rhode Island Hospital, Providence, RI. November 13, 2007.
         – Awarded First Place in the Lifespan Research Celebration Young Investigators Competition
         The 2008 International Conference on Alzheimer's Disease, Chicago, July 26-31, 2008. Alzheimer's
         &Dementia. 4(4) T498, July 2008.

63. Miller SC, Ott BR, Salloway S, Tremont G, Malloy P, Stopa E, Donahue J, Amick M, Grace J, Maguire D.
Brown University Dementia Data Repository. Brown University Public Health Program Research Day, Brown
University, Providence, RI, April 8, 2008.

64. Daiello LA, Ott BR, Lapane KL, Reinert SE, Machan JT, Dore DD. Cholinesterase inhibitor discontinuation is
associated with behavioral changes in nursing facility residents with dementia.
         – American Association for Geriatric Psychiatry Annual Meeting, Orlando, March 14-17, 2008.
         – Alzheimer's & Dementia 4(Suppl 4):TT498, 2008. The 2008 International Conference on
           Alzheimer's Disease, Chicago, July 26-31, 2008.

65. Festa EK, Papandonatos GD, Ott BR, Heindel WC. Cognitive factors associated with longitudinal decline in
driving skills in patients with Alzheimer's disease. Alzheimer's & Dementia 4(Suppl 4):T652, 2008. The 2008
International Conference on Alzheimer's Disease, Chicago, July 26-31, 2008.

66. Tremont G, Smith MM, McQuiggan M, Papandonatos G, Ott BR. A brief telephone cognitive screen for mild
cognitive impairment. Alzheimer's & Dementia 4(Suppl 4):T271-272, 2008. The 2008 International Conference on
Alzheimer's Disease, Chicago, July 26-31, 2008.

67. Jalbert JJ, Grunier A, Ott B, Lapane K. Antipsychotic use in the nursing home: The role of the special care unit.
The 24th International Conference for Pharmacoepidemiology & Therapeutic Risk Management. Copenhagen,
Denmark, August 17-21, 2008.

68. Heindel WC, Festa EK, Set S, Miller LA, David JD, Ott BR. Integrating features across and within cortical
streams in visual search: Differential effects of aging and Alzheimer's disease. The 16th Annual Meeting of the
Cognitive Neuroscience Society, San Francisco, March 21-24, 2009.

69. Festa EK, Heindel WC, Connors NC, Hirshberg L, Ott BR. Neurofeedback training enhances the efficiency of
cortical processing in normal aging. The 16th Annual Meeting of the Cognitive Neuroscience Society, San
Francisco, March 21-24, 2009.

70. Ott BR. Driving assessment of the cognitively impaired older driver. Int. Psychogeriatrics 21(Suppl. 2): S18-19,
September, 2009.
         – The 21st International Congress of the International Traffic Medicine Association. The Hague,
         Netherlands, April 28, 2009.
         – The 14th International Congress of the International Psychogeriatric Association, Montreal, September 1-
         5, 2009

71. Okonkwo O, Tremont G, Ott BR. Ventricular size, apolipoprotein E-4, and functional decline in mild cognitive
impairment. Brown University Psychiatry Research Day, March 26, 2009.

72. Ott BR, Cohen RA, Okonkwo OC, Johanson CE, Stopa EG, Donahue JE, Silverberg GD. The relationship
between brain ventricular volume and cerebrospinal fluid levels of A-beta and tau in apolipoprotein E4 positive
normal controls and patients with Alzheimer's disease
         – The 2009 International Conference on Alzheimer's Disease, Vienna, July 11, 2009. Alzheimer’s &
         Dementia 5(4): Supplement (July 2009), P299-300
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       Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 24 of 51




        – The 17th Annual Hospital Research Celebration

73. Daiello LA, Ott BR, Festa EK, Miller L, Heindel WC. Cholinesterase inhibitors improve visual attention in
drivers with Alzheimer's disease. 25th Anniversary International Conference on Pharmacoepidemiology &
Therapeutic Risk Management, Providence, RI. August 16-19, 2009.

74. Stopa E, Ott BR, Johanson C, Klinge P, Salloway S, Mernoff S, Stoukides J, DeLaMonte S, Silverberg G,
Donahue J, Alvarez V, Geller M. Cognitive improvement after Ventriculo-Peritoneal (VP) shunt placement in
Alzheimer's Disease (AD) and non-AD dementia. Hydrocephalus 2009 conference, Baltimore, September 17, 2009.

75. Hill BD, Davis J, Ott BR, Alosco M, Noto R, Tremont G. SPECT differences between mild cognitive
impairment and Alzheimer’s dementia patients. 21st Annual Meeting of the American Neuropsychiatric Association,
Tampa, March 17-20, 2010.

76. Festa EK, Heindel WC, Ott BR. Dual-task conditions modulate the efficiency of selective attention mechanisms
in Alzheimer’s disease. Alzheimer's & Dementia 6(4): S488, 2010. International Conference on Alzheimer's Disease
2010 (ICAD). Honolulu, July 10-15, 2010.

77. Heindel WC, Festa EK, Davis JD, Miller LA, Knott S, Ott BR. Differential contributions of selective attention
and sensory integration to the decline in driving skill in aging and early Alzheimer’s disease. Alzheimer’s &
Dementia 6(4):S128-129, 2010. International Conference on Alzheimer's Disease 2010 (ICAD). Honolulu, July 10-
15, 2010.

78. Carr DB, Barco P, Galvin JC, Ott BR. Fitness-to-drive in older adults with dementia. Alzheimer’s & Dementia
    6(4):S116, 2010. International Conference on Alzheimer's Disease 2010. Honolulu, July 10-15, 2010.
    Alzheimer's & Dementia. 6(4): S116, July 2010
    -- Featured Research Session.

79. Knott SL, Castro MG, Ott JA, McGinn B, Festa EK, Heindel WC, Davis JD, Ott BR. Naturalistic view of the
mobility of older drivers with and without cognitive impairment. 16th Annual Department of Medicine Research
Forum, Brown University, Providence, RI, June 18, 2010.

80. Mikos A, Tremont G, Plourd T, Westervelt H, Ott BR. Do patients with mild cognitive impairment
demonstrate reduced semantic integrity on animal fluency? The 39th Annual Meeting of the International
Neuropsychological Society, Boston, MA, February 2-5, 2011.

81. Davis J, Papandonatos GD, Miller LA, Knott S, Festa EK, Heindel WC, Barco P, Ott BR. Road test and
naturalistic driving behavior in older adults with and without memory loss: Environment matters. The 39th Annual
Meeting of the International Neuropsychological Society, Boston, MA, February 2, 2011.

82. Tremont G, Papandonatos G, Huminski B, Grace J, Frakey L, Ott BR. Use of the Telephone-Administered
Minnesota Cognitive Acuity Screen (MCAS) to detect mild cognitive impairment. The 39th Annual Meeting of the
International Neuropsychological Society, Boston, MA, February 2-5, 2011.

83. Tremont G, Davis J, O’Connor K, Grover C, Bishop D, Ott B, Papandonatos G, Fortinsky R. Relationship
between expectancy/credibility and early response to telephone-based dementia caregiver interventions.
Alzheimer's & Dementia 7(4) Suppl 1:S435, 2011. International Conference on Alzheimer's Disease. Paris, July 17-
21, 2011.

84. Ott BR, Papandonatos GD, Barco PB, Souza TS, Davis JD, Carr DB. Critical analysis of road test designs for
older drivers with cognitive impairment. Alzheimer's & Dementia 7(4) Suppl 1:S442, 2011. International
Conference on Alzheimer's Disease. Paris, July 17-21, 2011.

85. Festa EK, Ott BR, Tremont G, Heindel WC. Neocortical disconnectivity disrupts semantic binding in
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       Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 25 of 51




Alzheimer’s disease. Alzheimer's & Dementia 7(4) Suppl 1:S242, 2011. International Conference on Alzheimer's
Disease. Paris, July 17-21, 2011.

86. Daiello LA, Gongvatana W, Dunsiger S, Cohen R, Ott BR. Association of pre-baseline fish oil supplement use
with rates of brain atrophy and cognitive decline in the Alzheimer’s Disease Neuroimaging Initiative (ADNI)
Cohort. Alzheimer's & Dementia 7(4) Suppl 1:S606,S590, 2011.
         - International Conference on Alzheimer's Disease. Paris, July 17-21, 2011.
         - 19th Annual Lifespan Hospital Research Celebration, Providence, October 27, 2011.
         - Mind Brain Research Day, Brown University, Providence, March 25, 2014

87. Tremont G, Springate B, Papandonatos G, Huminski B, Grace J, Frakey L, Ott BR. The telephone-administered
Minnesota Cognitive Acuity Screen (MCAS) is sensitive to conversion from mild cognitive impairment to dementia.
Alzheimer's & Dementia 7(4) Suppl 1:S547, 2011International Conference on Alzheimer's Disease. Paris, July 17-
21, 2011.

88. Lucas-Carrasco R, Gomez-Benito J, Rejas J, Ott BR. The Cornell-Brown scale for quality of life in dementia:
Spanish adaptation and validation. International Society for Pharmacoeconomics and Outcomes Research 14th
Annual European Congress, Madrid, November 5-8, 2011.

89. Alosco ML, Ott BR, Spitznagel MB , Cleveland MJ, Royale K, Snyder S, , Gunstad J. Impaired knowledge of
driving laws independently predicts recommended driving cessation among patients with dementia and cognitive
decline. International Neuropsychological Society 40th Annual Meeting. Montreal, February 15-18, 2012.

90. Manning KJ, Davis JD, Hewitt S, Ott BR. Empirical evaluation of dementia driving risks proposed by the
American Academy of Neurology.
        - 19th Annual Lifespan Hospital Research Celebration, Providence, October 27, 2011.
        - International Neuropsychological Society 40th Annual Meeting. Montreal, February 15-18, 2012.

91. Festa E, Ott BR, Tremont G, Heindel W. Impaired binding of perceptual information within semantic memory
in early-stage Alzheimer’s disease: Behavioral evidence for disrupted functional connectivity. Cognitive
Neuroscience Society Annual Meeting, Chicago, March 31-April 3, 2012.

92. Ott BR, Davis JD, Hewitt S, Carr DB. Prediction of road test and naturalistic driving ability of older people with
and without cognitive impairment in the office setting. The 64th Annual Meeting of the American Academy of
Neurology, New Orleans, April 25, 2012.
         -- Selected for the Scientific Highlights session of the top 5% of abstracts.

93. Daniels AH, Daiello LA, Badger J, Born C, Hayda R, Ott BR, Szaro J, Cooper MR. Cognitive Assessment
After Hip Fracture in the Elderly (CAFÉ): Study Protocol and Selected Baseline Results of a 12-month Prospective
Cohort Study. 20th Annual Hospital Research Celebration, Rhode Island Hospital, Providence, RI, October11, 2012.

94. Springate BA, Tremont G, Ott BR. Conversion from mild cognitive impairment to dementia is associated with
repetitive behaviors. International Neuropsychological Society 41st Annual Meeting, Waikoloa, Hawaii
February 6-9, 2013.

95. Tremont G, Springate B, Papandonatos G, Kelley P, Grace J, Frakey L, Ott BR. Prediction of conversion from
mild cognitive impairment to dementia with the telephone-administered Minnesota Cognitive Acuity Screen.
International Neuropsychological Society 41st Annual Meeting, Waikoloa, Hawaii, February 6-9, 2013.

96. Ott BR. Office assessment of the cognitively impaired driver. Symposium presentation: “Trans-disciplinary
Approached to the Assessment of Driving Safety: From Teens to the Oldest Old.” International
Neuropsychological Society 41st Annual Meeting, Waikoloa, Hawaii. February 6-9, 2013.

97. Ott BR, Daiello LA, Springate BA, Bixby K, Murali M, Dahabreh IJ, Trikalinos TA. Do statin drugs impair
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       Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 26 of 51




cognition? A systematic review and meta-analysis. Alzheimer's & Dementia 9:(4):P666, 2013.
         Alzheimer’s Association International Conference, Boston. July13-18, 2013
         Mind Brain Research Day, Brown University, Providence, March 25, 2014.

98. Ott BR, Grace J, Frakey L, Kelley P, Tremont G. Prediction of functional decline and conversion from mild
cognitive impairment with the telephone-administered Minnesota Cognitive Acuity Screen. Alzheimer's &
Dementia. 9(4): P449, 2013. Alzheimer’s Association International Conference, Boston. July13-18, 2013.

99. Tremont G, Davis J, Grover C, Bryant K, Ott B, Papandonatos G, Fortinsky R, Gozalo P, Bishop D.
Randomized controlled trial of a telephone-delivered intervention (FITT-Caregiver) for dementia caregivers.
Alzheimer's & Dementia 9(4):P324-325, 2013. Alzheimer’s Association International Conference, Boston. July13-
18, 2013.

100. Padbury J, Ernerudh J, Sharma S, Stopa E, Kocab J, Ott B. Preeclampsia during pregnancy and Alzheimer’s
disease later in life. Alzheimer's & Dementia 9(4):P571, 2013. Alzheimer’s Association International Conference,
Boston. July13-18, 2013.

101. Heindel WC, Festa EK, Ott BR, Sofer I, Serre T. Rapid visual categorization as a sensitive measure of early
Alzheimer’s disease. Alzheimer's & Dementia 9(4):P451–P452, 2013. Alzheimer’s Association International
Conference, Boston. July13-18, 2013.

102. Festa EK, Katz AP, Ott BR, Heindel WC. Perceptual binding of audiovisual speech information is disrupted at
the preclinical stage of Alzheimer’s disease. Alzheimer's & Dementia. 9(4): P452, 2013. Alzheimer’s Association
International Conference, Boston. July13-18, 2013.

103. Davis JD, Bixby KA, Ott BR. Clinician and caregiver prediction of driving competence in older adults who
may have early Alzheimer’s disease: Validation with road test and naturalistic driving assessments. Alzheimer’s &
Dementia 9(4):P473, 2013. Alzheimer’s Association International Conference, Boston. July13-18, 2013.

104. Daiello LA, Daniels AH, Badger J, Lareau CR, Robidoux KA, Ott BR. Association of unrecognized
preoperative cognitive impairment with postoperative cognitive and functional outcomes in elderly patients awaiting
hip fracture repair. Alzheimer’s Association International Conference, Boston. July13-18, 2013.

105. Manning KJ, Davis JD, Papandonatos GD, Hewitt SD, Ott BR. Clock drawing and driving in aging and
dementia: Is it worth the time? Alzheimer’s & Dementia 9(4):P475, 2013. Alzheimer’s Association International
Conference, Boston. July13-18, 2013.

106. Barco PB, Carr DB, Ott BR, Ice S, Baum C, Roe C. Assessing driving errors in dementia with the Record of
Driving Errors (RODE). American Occupational Therapy Association Annual Conference, April 3-6, 2014,
Baltimore.

107. Lanata S, Reinert S, Astphan M, Ott BR. A survey of mental status examination practices in patients
hospitalized for evaluation of altered mental status. 2014 Annual Meeting of the American Academy of Neurology,
Philadelphia, April 26-May 3, 2014.

108. Afari ME, Blum AS, Mernoff S, Ott BR. Driving policy after seizures and unexplained syncope: A practice
guide for RI physicians. Annual Regional Scientific Meeting of the Rhode Island Chapter, American College of
Physicians, Cranston, RI, May 8, 2014.
         -- Third place award among 117 abstracts in the Resident/Fellow Forum Competition

109. Snyder PJ, Lim YY, Schindler R, Ott BR, Salloway S, Daiello L, Getter C, Gordon CM. Micro dosing of
scopolamine as a “cognitive stress test”: Rationale and test of a very low dose in an at-risk cohort of older adults.
Alzheimer's & Dementia 10(2):262–67, 2014.

                                                          25
       Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 27 of 51




110. Lim YY, Site M, Maruff P, Fernandez B, Salloway S, Ott BR, Schindler R, Snyder PJ. Evidence of
neuroinflammation in the retina in presymptomatic Alzheimer’s disease. Alzheimer's & Dementia 10(4):P429,
2014. Alzheimer’s Association International Conference, July 12-17, 2014, Copenhagen, Denmark.

111. Tremont G, Davis J, Bryant K, Ott BR, Papandonatos G, Fortinsky R, Gozalo P, BishopD. Effect of a
telephone-based dementia caregiver intervention on use of community and healthcare resources. Alzheimer's &
Dementia 10(4):P226-227, 2014. Alzheimer’s Association International Conference, July 12-17, 2014, Copenhagen,
Denmark.

112. Alosco ML, Penn MS, Spitznagel MB, Ott BR, Cleveland MJ, Gunstad J. Preliminary evidence for the adverse
impact of depressive symptoms on driving fitness in older adults with heart failure. International
Neuropsychological Society 43rd Annual Meeting, Denver, February 4-6, 2015.

113. Thomas J, Luo G, Pelosi M, Davis JD, Ott, BR. Using virtual collision judgment assessment to predict driving
safety risk in aging and dementia. Rhode Island Alzheimer’s Disease Research Conference. Warwick, RI, March 5,
2015.

114. Hoffman J, Ott BR. Clinical outcomes of Florbetapir (18F) PET imaging in patients with cognitive
impairment. Rhode Island Chapter American College of Physicians Annual Scientific Meeting. Cranston, RI, May
7, 2015.

115. Ott BR, Pelosi MA, Tremont G, Snyder PJ. A survey of knowledge, beliefs and attitudes regarding genetic and
amyloid PET status disclosure.
         -- Rhode Island Alzheimer’s Disease Research Conference. Warwick, RI, March 5, 2015.
         -- Alzheimer’s Association International Conference. Washington, D.C., July 18-23, 2015.

116. Ott BR, Bixby K, Davis JD. Video feedback intervention to improve the safety of cognitively impaired older
drivers. Alzheimer’s Association International Conference. Washington, D.C., July 18-23, 2015.

117. Stopa EG, Padbury J, Daiello LA, Ott BR, Sharma S. Placental tau, α-synuclein, Aβ and APP levels in pre-
eclampsia, and Alzheimer’s disease risk factor. Alzheimer’s Association International Conference. Washington,
D.C., July 18-23, 2015. Alzheimer's & Dementia. 11(7): P372, July 2015.

118. Daiello LA, Pelosi M, Cizginer S, Ott BR. Psychoactive medication use and memory impairment among
members of an Alzheimer prevention registry. Alzheimer’s Association International Conference. Washington,
D.C., July 18-23, 2015. Alzheimer's & Dementia. 11(7): P734, July 2015.

119. Daiello LA, Wellenius G, Ott BR, Buka SL. Role of supplemental docosahexaenoic acid (DHA) for cognition
in Alzheimer’s disease and mild cognitive impairment: A systematic review and meta-analysis of randomized
controlled trials. Alzheimer’s Association International Conference. Washington, D.C., July 18-23, 2015.
Alzheimer's & Dementia. 11(7): P611, July 2015.

120. Snyder PJ, Lim YY, Maruff P, Schindler R, Ott BR, Salloway S, Noto RB, Yoo DC. Disruption of cholinergic
neurotransmission unmasks aß-related cognitive impairment in preclinical Alzheimer’s disease. Alzheimer’s
Association International Conference. Washington, D.C., July 18-23, 2015. Alzheimer's & Dementia, 11(7): P129–
P130, July 2015.

121. Figueroa CM, Festa EK, Ott BR, Heindel WC. Sensitivity of component attentional measures to subtle
cognitive changes and real-world driving performance in early Alzheimer’s disease: A longitudinal examination.
         International Neuropsychological Society 44th Annual Meeting, Boston, MA, February 3-6, 2016.
         Brown University Mind Brain Research Day, Providence, RI, March 30, 2016.

122. Ashraf F., Ott BR. "Spät-apoplexie," a case of delayed post traumatic intra cerebral hemorrhage. American
College of Physicians, RI Chapter Annual Scientific Meeting, Providence, RI, March 30, 2016.
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       Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 28 of 51




123. Ott BR, Jones RN, Noto RB, Yoo DC, Snyder PJ, Bernier JN, Pelosi MA, Carr DB, Roe CM. Brain amyloid in
preclinical Alzheimer’s disease is associated with increased driving risk. Alzheimer’s Association International
Conference. Toronto, Canada, July 24-28, 2016. Alzheimer's & Dementia. 12(7): P1069, July 2016.

124. Roe CM, Barco P, Head DM, Babulal GM, Stout S, Ghoshal N, Selsor N, Vernon EK, Fierberg R, Shulman N,
Johnson A, Fague S, Xiong C, Grant EA, Campbell A, Holtzman DM, Benzinger T, Fagan AM, Ott BR, Carr DB,
Morris JC. Preclinical Alzheimer disease predicts longitudinal onset of driving difficulties among cognitively
normal persons. Alzheimer’s Association International Conference. Toronto, Canada, July 24-28, 2016. Alzheimer's
& Dementia. 12(7):P1071, July 2016.

125. Daiello LA, Stopa EG, Ott BR, de la Monte S, Johanson CE. CNS molecular gradients in mild cognitive
impairment and Alzheimer’s disease: Implications for blood-brain barrier permeability. Alzheimer’s Association
International Conference. Toronto, Canada, July 24-28, 2016. Alzheimer's & Dementia, 12(7):P1149, 2016.

126. Venkatesan UM, Festa EK, Ott BR, Heindel WC. What drives driving: Differences in the relationship of visual
search and sensory binding to driving performance between healthy aging and Alzheimer’s disease. International
Neuropsychological Society 45th Annual Meeting, New Orleans, February 1-4, 2017. J Int Neuropsych Soc
23(1):230, 2017.

127. Crook C, Papandonatos GD, Ott BR, Tremont G. Refining a telephone screening for mild cognitive
impairment. International Neuropsychological Society 45th Annual Meeting, New Orleans, February 1-4, 2017.

128. Giugliano RP, Mach F, Zavitz K, Keech A, Terje RP, Sabatine MS, Sever PS, Kurtz C, Honarpour N, Ott BR,
and the EBBINGHAUS Investigators. Primary results of EBBINGHAUS, a cognitive study of patients enrolled in
the FOURIER trial. American College of Cardiology 66th Annual Meeting, Washington, DC, March 17-19, 2017.

129. Lai LY, Festa EK, Serre T, Ott BR, Heindel WC. Rapid visual categorization reveals disrupted ventral stream
processing in early Alzheimer’s disease. Cognitive Neuroscience Society 24th Annual Meeting. San Francisco,
March 25-28, 2017.
         Second Annual Research Meeting of the Rhode Island Alzheimer’s Association, Warwick, RI, April 21,
         2017. Best Poster award.

130. Margolis SA, Papandonatos GD, Tremont G, Ott BR. Telephone-based Minnesota Cognitive Acuity Screen
predicts time to institutionalization and homecare. American Academy of Clinical Neuropsychology Annual
Meeting. Boston, June 8-10, 2017.

131. Margolis SA, Tremont G, Denby C, Heller B, Ott BR. Subjective cognitive decline in members of the
Rhode Island Alzheimer Prevention Registry. Alzheimer’s Association International Conference. London, July 16-
20, 2017. Alzheimers Dement 13(7):P1336, 2017.

132. Santos CY, Johnson LN, Lim YY, Fernandez BM, Ott BR, Salloway S, Maruff P, Snyder PJ. Retinal nerve
fiber layer and ganglion cell layer volume changes in preclinical Alzheimer’s disease over 27 Months.
          Alzheimer’s Association International Conference. London, July 16-20, 2017.
          Alzheimers Dement 13(7):P1280, 2017.
          American Neurological Association 142nd Annual Meeting, San Diego, October 15-17, 2017.

133. Snyder PJ, Santos CY, Getter C, Schindler R, Ott BR, Salloway S, Yoo DC, Noto RB, Lim YY, Maruff P.
Cholinergic deficit as a predictor of disease progression: Amyloid accumulation and episodic memory decline in a
27-month preclinical AD study. Alzheimer’s Association International Conference. London, July 16-20, 2017.
Alzheimers Dement 13(7):P1232-33, 2017.

134. Daiello LA, Jones RN, Stopa E, Grammas P, de la Monte S, Johanson CE, Ott BR. Blood-brain barrier
gradients in mild cognitive impairment and Alzheimer’s disease: Relationship to inflammatory cytokines and
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       Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 29 of 51




chemokines. Alzheimer’s Association International Conference. London, July 16-20, 2017. Alzheimers Dement
13(7):P640-41, 2017.

135. Roe CM, Babulal GM, Stout SH, Fagan AM, Benzinger TLS, Holtzman DM, Ott BR, Carr DB, Xiong C,
Morris JC. Impact of cognitive reserve and preclinical AD on longitudinal driving performance. Alzheimer’s
Association International Conference. London, July 16-20, 2017. Alzheimers Dement 13(7):P550-51, 2017.

136. Alber J, Silver B, Ott BR, Snyder PJ. A potential retinal biomarker of cerebral amyloid angiopathy.
Alzheimer’s Association International Conference. London, July 16-20, 2017. Alzheimers Dement 13(7):P704-705,
2017.

137. Margolis SA, Daiello LA, Tremont G, Heller B, Denby C, Ott BR. Age moderates the relationship between
drug burden index and subjective cognitive decline in members of the Rhode Island Alzheimer Prevention Registry.
National Academy of Neuropsychology 37th Annual Conference, Boston, October 26, 2017. Arch Clin
Neuropsychology 32(6): 656-666, 2017.

138. Margolis SA, Bryant D, Reynolds GO, Denby C, Poll KA, Gilmore M, Tremont G, Ott BR. Cognitive decline
predicts perceived loneliness in non-demented older adults at risk of Alzheimer’s disease. 46th Annual Meeting of
the International Neuropsychological Society, Washington, February 14-17, 2018.

139. Venkatesan UM. Festa EK, Ott BR, Heindel WC. Disentangling deficits in semantic integration and retrieval
in aging and Alzheimer's disease. 46th Annual Meeting of the International Neuropsychological Society,
Washington, February 14-17, 2018.

140. Margolis SA, Festa EK, Korthauer LE, Gonsalves MA, Oberman L, Heindel WH, Ott BR. Repetitive
transcranial magnetic stimulation in primary progressive aphasia and behavioral variant frontotemporal dementia: A
case series. Alzheimer’s Association International Conference. Chicago, July 22-26, 2018.

ELECTRONIC MEDIA PRESENTATIONS

1. A longitudinal study of drivers with Alzheimer disease. Podcast for Neurology, Published: Mon, 31 Mar 2008.
https://www.aan.com/rss/search/home/episodedetail/?item=31

2. Assessing and Modifying Risks for Older Drivers. Video internet presentation for Medscape, sponsored by U.S.
Department of Health and Human Services and the National Highway Traffic and Safety Administration, New York,
NY, December 3, 2014. http://www.medscape.org/viewarticle/833915?src=acdmpart_nhtsa_833915

3. Ott BR, Knopman D, Jicha G. NeuroPI: Performance Improvement in Neurology, Dementia Module. American
Academy of Neurology, 2012, rev. 2016.
http://tools.aan.com/practice/pip/index.cfm?event=module:info&module_id=7

4. Ott BR. An Overview of Diseases that Lead to Cognitive Loss with an Update on Potential New Therapies.
WebCam workshop presentation for Course 4, Cognitive Dysfunction, Geriatrics Workforce Enhancement Program,
University of Rhode Island, North Kingston, RI, June 29, 2017. http://web.uri.edu/rigec/about-rigec/

INVITED PRESENTATIONS:

1. Diagnosis and treatment of Alzheimer’s disease. Medical grand rounds, Harrington Memorial Hospital,
Southbridge, MA, October 4, 1990.

2. New treatment options for dementia. Advances in the Treatment of Neurologic Disorders symposium; Newport,
RI, July 10, 1994.

3. Diagnosis and management of Alzheimer’s disease. Brown University Center for Gerontology and Health Care
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       Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 30 of 51




Research, Providence, RI, January 31, 1995.

4. Loss of insight in Alzheimer’s disease. Presented at New Concepts in the Neuropsychiatry of Motivation
symposium, 148th Annual Meeting of the American Psychiatric Association, Miami, Florida, May 25, 1995.

5. Update on Research and Medical Advances in Alzheimer’s Disease. Taking Control: A Symposium Focusing on
Chronic Conditions and Disabilities. University of Rhode Island, Providence, RI, October 26, 1996.

6. Alzheimer’s Disease: Research Update. Alzheimer’s Association Chapter Annual Meeting, Roger Williams
Hospital, June 20, 1996.

7. Overview of Alzheimer’s disease. American Association of Neuroscience Nurses chapter conference, Randolph,
MA, 1997.

8. Promotions and faculty development panel. Faculty Development Workshop, Brown University, Providence, RI,
March 27, 1997.

9. Treatments for dementia. Alzheimer’s Association Fifth Annual Caregiver Conference, Warwick, RI, April 24,
1997.

10. Alzheimer’s disease. Neurology Grand Rounds, St. Vincent’s Hospital, Worcester, MA, May 8, 1997.

11. Pieces of the ethical puzzle. Alzheimer’s Association Regional I and II Meeting, Providence, RI, June 14, 1997.

12. New Approaches to the Treatment of Alzheimer's Disease. Dementia Update for Healthcare Professionals --
Second Annual Alzheimer's Association Interdisciplinary Conference, Providence, RI, November 4, 1997.

13. Driving Assessment in the Elderly. Rhode Island Monthly Geriatric Seminars, Providence, RI, November 19,
1997.

14. What Caregivers Really Want To Know About Research, panelist. Alzheimer’s Association Rhode Island
Chapter Sixth Annual Caregiver’s Conference, Cranston, RI, April 28, 1998.

15. The Ethical Challenges of Alzheimer’s Disease, panelist. The Seventh National Alzheimer’s Disease Education
Conference, Indianapolis, Indiana, July 27, 1998.

16. Complementary and alternative medicines for Alzheimer’s disease. Seventh Annual Statewide Conference. RI
Chapter of the Alzheimer’s Association. Cranston, RI, April 28, 1999.

17. Driving and dementia workshop. 8th Annual Statewide Conference, RI Chapter of the Alzheimer’s Association,
Warwick, RI April 25, 2000.

18. Complementary and alternative medicines for Alzheimer’s disease. “A Map Through the Maze,” annual
statewide conference, Massachusetts Chapter of the Alzheimer’s Association, Marlborough, MA, May 10, 2000.

19. Alzheimer’s: A treatable disease. Medicine Grand Rounds, Waltham Deaconess Hospital, Waltham, MA, May
31, 2000.

20. Sex hormone drug effects on men with dementia. Alzheimer’s Disease Research Conference. Memorial
Hospital, Pawtucket, RI, September 8, 2000.

21. Driving and neurologic disorders. Medical Grand Rounds, Memorial Hospital of Rhode Island, Pawtucket, RI,
September 27, 2000.

                                                        29
       Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 31 of 51




22. Sex hormone drug effects on men with dementia, case presentation. Neurology Grand Rounds, Rhode Island
Hospital, Providence, RI, October 4, 2000.

23. Alzheimer’s: A treatable disease. Medical Grand Rounds. St. Luke’s Hospital, New Bedford, MA, November 7,
2000.

24. A longitudinal study of hazardous drivers with dementia. Faculty research meeting, Center for Primary Care and
Prevention, Memorial Hospital of Rhode Island, Pawtucket, RI, January 9, 2001.

25. Clinical appraisal of anti-dementia therapy. Geriatric Psychiatry Conference. Butler Hospital, Providence, RI,
January 18, 2001.

26. Frontal lobe dementia with motor neuron disease, case presentation. Neurology Grand Rounds, Rhode Island
Hospital, Providence, RI, July 11, 2001.

27. Update on Alzheimer’s disease. Rhode Island Society of Osteopathic Physicians and Surgeons annual meeting.
Newport, RI, August 24, 2001.

28. Update on Alzheimer’s disease. Medical Grand Rounds, Memorial Hospital of Rhode Island, Pawtucket, RI,
September 26, 2001.

29. Stroke. Family Medicine Conference, Memorial Hospital of Rhode Island, Pawtucket, RI, September 27, 2001.

30. Memory disorders and their treatment. Fifth Annual Symposium, American Academy of Physician Assistants,
Pawtucket, RI, November 3, 2001.

31. Mild cognitive impairment. Neurology Grand Rounds, case presentation, Rhode Island Hospital, Providence, RI,
June 12, 2002.

32. Cholinesterase inhibitors in the long-term care of Alzheimer’s disease. Second Annual Long Term Care
Symposium, Warwick, RI, June 14, 2002.

33. Drivers with dementia. Neurology Grand Rounds, Rhode Island Hospital, Providence, RI, September 4, 2002.

34. Mild cognitive impairment. Geriatric Psychiatry Conference. Butler Hospital, Providence, RI, January 16, 2003.

35. Research Update. Alzheimer’s Disease Forum. Brown University, Providence, RI, May 6, 2003.

36. Driving and dementia. Geriatric Psychiatry conference, Butler Hospital, Providence, RI, November 6, 2003

37. Long term management of Alzheimer’s disease. Medical Staff Conference, The Westerly Hospital, Westerly, RI,
December 4, 2003.

38. Stroke Update. Family Medicine Conference, Memorial Hospital of Rhode Island, Pawtucket, RI, December 5,
2003.

39. Orthostatic tremor and the aging nervous system. Neurology Grand Rounds, case discussion, Rhode Island
Hospital, Providence, RI, March 3, 2004.

40. Gender differences in the treatment of Alzheimer’s disease. Alzheimer’s Disease 2004, Tulsa OK, March 5,
2004.

41. Driving and dementia research. Boston University Alzheimer’s Disease Center Seminar, Boston University
School of Medicine, Boston, MA, March 10, 2004.
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       Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 32 of 51




42. Alzheimer Research Panel. Alzheimer’s Association Rhode Island Chapter Eleventh Annual Caregiver’s
Conference, Warwick, RI, April 28, 2004.

43. Advances in the treatment of Alzheimer’s disease. Academy of Family Physicians Annual Conference, Newport,
RI, May 22, 2004.

44. The cognitively impaired physician. Neurology Grand Rounds, case discussion, Rhode Island Hospital,
Providence, RI, November 10, 2004.

45. Driving and dementia. Monthly Research Forum, Memorial Hospital of Rhode Island, Pawtucket, RI, May 10,
2005.

46. Arachnoid cysts and dementia. Neurology Grand Rounds, case discussion, Rhode Island Hospital, Providence,
RI, June 29, 2005.

47. Diagnosis and treatment of early Alzheimer’s disease 2005. Medical Grand Rounds, Memorial Hospital of
Rhode Island, Pawtucket, RI, September 14, 2005.

48. Progress in research on driving and dementia. Dementia research meeting, Rhode Island Hospital, Providence,
RI, April 26, 2006

49. Mild cognitive impairment. The Alzheimer Partnership of Bristol County, Marshfield, MA, May 17, 2006.

50. Drivers with dementia. Monthly Research Meeting, Boston University Alzheimer’s Disease Center, Boston,
MA, June 14, 2006.

51. Drivers with dementia. Monthly Research Meeting, Washington University Alzheimer’s Disease Research
Center, St. Louis, MO, August 29, 2006.

52. Drivers with dementia. Dementia and Neuropsychiatry regional conference, University of Vermont, Burlington,
VT, September 16, 2006.

53. Hereditary frontotemporal dementia due to progranulin mutation. Neurology Grand Rounds, case discussion,
Rhode Island Hospital, Providence, RI, January 10, 2007.

54. Identification of hazardous drivers with dementia. Association for Research in Vision and Ophthalmology
(ARVO) annual meeting. Vision, Aging, and the Brain session, Fort Lauderdale, FLA, May 5, 2007.

55. Alzheimer’s Disease – Early diagnosis, current treatments and investigational therapies. National Alzheimer’s
Association Clinical Studies Initiative. Providence, RI, May 22, 2007.

56. The changing treatment paradigm in Alzheimer’s disease. Grand Rounds, Manchester VA Hospital,
Manchester, NH, May 25, 2007.

57. Diagnosis and behavioral management of Alzheimer’s disease and other dementias. Glennan Center for
Geriatrics, Eastern Virginia Medical School, Norfolk, VA, June 1, 2007.

58. Diagnosis and treatment of cognitive impairment in the elderly. American College of Physicians, Rhode Island
Chapter Scientific Meeting. Newport, RI, October 10, 2007.

59. Driving in the elderly. Neurology of the Elderly Symposium, Warren Alpert Medical School of Brown
University. Providence, RI, November 3, 2007.

                                                        31
       Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 33 of 51




60. Hashimoto's encephalopathy. Neurology Grand Rounds, case discussion, Rhode Island Hospital, Providence, RI,
January 28, 2008.

61. A longitudinal study of drivers with Alzheimer disease. Podcast for Neurology, Published: Mon, 31 Mar 2008
15:03:36 GMT

62. Driving evaluations in cognitively impaired older adults. Eighth Annual Friedman Conference. Washington
University, St. Louis, May 13, 2008.

63. Early onset dementia. Neurology Grand Rounds, case discussion, Rhode Island Hospital, Providence, RI,
October 1, 2008.

64. Driving evaluations in cognitively impaired older adults. Geriatric Psychiatry Conference. Butler Hospital,
Providence, RI, October 2, 2008.

65. Driving assessment of the cognitively impaired older driver. 21st International Congress of the International
Traffic Medicine Association. The Hague, Netherlands, April 28, 2009.

66. Post lumbar puncture epidural hematoma. Neurology Grand Rounds, case discussion, Rhode Island Hospital,
Providence, RI, July 21, 2009.

67. Path to Prevention Symposium. Driving assessment of the cognitively impaired older driver. International
Psychogeriatric Association 14th International Congress, Montreal, September 2, 2009.

68. Driving impairment in early Alzheimer’s disease. Assessment of Cognition in Early Dementia. NIH Workshop,
Bethesda, March 31, 2010.

86. The older driver with cognitive impairment: “It’s a very frustrating life.” Teleconference sponsored by the
Institute for Healthcare Improvement in partnership with JAMA, June 16, 2010.

87. New research diagnostic criteria for Alzheimer’s disease, mild cognitive impairment, and pre-clinical
Alzheimer’s disease. Alzheimer’s Disease & Memory Disorders Center research meeting, Rhode Island Hospital,
Providence, RI, September 29, 2010.

71. Incipient Alzheimer’s disease and motor vehicle crashes. Collaborative Research Workshop, Brown University
Department of Engineering and Lifespan Hospital System, Providence, RI, December 9, 2010.

72. Diagnosis and treatment of Alzheimer’s disease. Update 2011. Medical Grand Rounds, Rhode Island Hospital,
Providence, RI, April 5, 2011.

73. Diagnosis and treatment of Alzheimer’s disease. Update 2011. Case Management Society of New England .
Warwick, RI, May 5, 2011.

74. Diagnosis and treatment of Alzheimer’s disease. Update 2011. Newport Hospital Medical Grand Rounds,
Newport Hospital, Newport, RI, June 3, 2011.

75. Validation of screening and road tests for older drivers in the “real world.” Washington University, St. Louis,
MO, June 6, 2011.

76. A case of rapidly progressive dementia. Neurology Grand Rounds, Morbidity and Mortality Conference, Rhode
Island Hospital, Providence, RI, September 14, 2011.

77. Driving under the influence of aging and cognitive impairment. Miriam Hospital Be Safe This Fall Annual
Meeting. Providence, RI, October 28, 2011.
                                                         32
       Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 34 of 51




78. Symposium: Clinical assessment of the cognitively impaired older driver. National Academy of
Neuropsychology 31st Annual Conference, Marco Island, FL, November 18, 2011.

79. Naturalistic assessment of cognitively impaired older drivers. Vision and Visual Optics seminar, Schepens
Research Institute, Boston, MA, November 29, 2011.

80. A case of frontal variant Alzheimer’s disease. Neuropathology Rounds, Rhode Island Hospital, Providence, RI,
January 11, 2012.

81. The borderland of Alzheimer’s disease and hydrocephalus. Neurology Grand Rounds, Rhode Island Hospital,
Providence, RI, January 18, 2012.

82. Driving under the influence of aging and dementia. New Directions in Research and Care, 2012 Education and
Research Conference, Keynote address, Greater New Jersey Chapter of the Alzheimer’s Association, Somerset, NJ,
May 10 and 11, 2012.

83. Meeting the need to treat Alzheimer’s disease. The Norman Prince Neurosciences Institute Inaugural
Symposium panel discussion. Alpert Medical School of Brown University, Providence, RI, June 8, 2012.

84. Driving under the influence of aging and dementia. Annual Caregiver and Healthcare Professional Conference,
Rhode Island Chapter of the Alzheimer’s Association, Warwick, RI, June 27, 2012.

85. Office assessment of the cognitively impaired driver. Symposium presentation: “Trans-disciplinary
Approached to the Assessment of Driving Safety: From Teens to the Oldest Old.” International Neuropsychological
Society 41st Annual Meeting, Waikoloa, Hawaii. February 6-9, 2013.

86. Update on Alzheimer’s disease, 2012-2013. Department of Medicine Grand Rounds, Rhode Island Hospital,
Providence, RI, April 2, 2013.

87. Pseudobulbar affect. Neurology Grand Rounds, case discussion, Rhode Island Hospital, Providence, RI, May
29, 2013.

88. New directions in the diagnosis and treatment of mild cognitive impairment and early Alzheimer’s disease.
Annual Caregiver and Healthcare Professional Conference, Rhode Island Chapter of the Alzheimer’s Association.
Warwick, RI, June 25, 2013.

89. Road test and naturalistic driving performance in healthy and cognitively impaired older adults: Does
environment matter? 6th Biennial World Research Congress of The Eye, The Brain, & The Auto. The Detroit
Institute of Ophthalmology, Dearborn, MI, September 18, 2013.

90. Driving under the influence of aging and dementia. Annual Capone Family Aging Lecture. Butler Hospital,
Providence, RI, November 16, 2013.

91.Oppenheimer Brownell variant of Creutzfeldt Jacob disease. Neurology Morbidity and Mortality Rounds, Rhode
Island Hospital, Providence, RI, March 12, 2014.

92. Frontotemporal dementia: An untreatable illness? Neurology Grand Rounds, case discussion, Rhode Island
Hospital, Providence, RI, April 23, 2014.

93. Alzheimer’s Disease Awareness, panel discussion. Brown University, Providence, RI, April 25, 2014.

94. Assessing and Modifying Risks for Older Drivers. Video internet presentation for Medscape, sponsored by
National Highway Traffic and Safety Administration, New York, NY, May 21, 2014.
                                                        33
       Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 35 of 51




95. Symposium on Alzheimer’s disease, panel discussion. Norman Prince Neurosciences Institute, Providence, RI,
September 23, 2014.

96. Performance improvement in dementia care. Neurology Grand Rounds, Rhode Island Hospital, Providence, RI,
February 24, 2015.

97. Alzheimer’s disease research in Rhode Island: Speaker and moderator. Rhode Island Alzheimer’s Disease
Research Conference. Warwick, RI, March 5, 2015.

98. Frontotemporal Dementia. Alzheimer’s Association Caregivers Conference. Warwick, RI, March 5, 2015.

99. Identifying medically at risk drivers. Older Drivers Safety Summit. University of Massachusetts, Boston, MA,
June 16, 2015.

100. Semantic dementia: A form of primary progressive aphasia. Neurology Grand Rounds, case discussion, Rhode
Island Hospital, Providence, RI, October 7, 2015.

101. Early diagnosis and treatment of Alzheimer’s disease. Neurology Update 2015 CME program. Alpert Medical
School of Brown University, Providence, RI, November 7, 2016.

102. Statins and their effects on cognition. Aging and Dementia Research Program. Rhode Island Hospital,
Providence, RI, November 30, 2016.

103. Intracerebral hemorrhage and anticoagulation in a patient with amyloid angiopathy and lymphoma. Morbidity
and Mortality, panel discussion. Rhode Island Hospital, Providence, RI, January 11, 2017.

104. Statins and the brain: Friend or foe? Neurology Grand Rounds. Rhode Island Hospital, Providence, RI, January
18, 2017.

105. Driving under the influence of aging and dementia. University of California, Irvine, MIND 28th Annual
Southern California Alzheimer’s Disease Research Conference, September 22, 2017, Irvine, CA.

106. Countdown to 2025: Progress on ending Alzheimer’s disease. Newport Hospital, Newport, RI, December 7,
2017.

107. Update on advances in the diagnosis and treatment of Alzheimer’s disease. Medical Grand Rounds, Memorila
Hospital of Rhode Island, Pawtucket, RI, February 14, 2018.

GRANTS & CLINICAL RESEARCH:

1. #970-26                                                                         1990-1994 (completed)
Parke-Davis Pharmaceutical Co.
Double-blind, placebo-controlled, parallel group, multicenter study of tacrine in Alzheimer's disease patients.
This study is to determine safety and efficacy of tacrine for the treatment of Alzheimer’s disease. (phase III)
Role: Site PI
Direct/total costs: $41,931/ $52,414

2. #996-019/025                                                                    1991-1993 (completed)
DuPont Merck Pharmaceutical Co.
Randomized placebo-controlled study of DUP-996 (linopirdine) in patients with mild to moderate dementia of the
Alzheimer type.
This study is to determine safety and efficacy of linopirdine for the treatment of Alzheimer’s disease. (phase II)
Role: Site PI
                                                         34
       Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 36 of 51




Direct/total costs: $163,053/ $203,816

3. Surdna Foundation Grant                           Ott (PI)                     1991-1993 (completed)
Brown University Center for Gerontology and Health Care Research
Awareness of deficit in Alzheimer's disease.
This study is to examine the psychological and physiological substrate of deficit awareness in patients with
Alzheimer’s disease.
Role: PI
Direct and total costs: $15,000

4. #303                                                                            1993-1994 (completed)
Hoechst-Roussel Pharmaceuticals, Inc.
Multicenter, 24-week, double-blind, parallel group safety, tolerance and efficacy comparison of placebo and HP 029
(velnacrine maleate) in outpatients with Alzheimer's disease.
This study is to determine safety and efficacy of velnacrine for the treatment of Alzheimer’s disease. (phase II)
Role: Site PI
Direct/total costs: $13,877/ $17,346

5. #159-103                                                                      1994-1996 (completed)
Pfizer, Inc.
A randomized, double-blind, placebo-controlled study of the safety and efficacy of three doses of CP-118,954
administered for 12 weeks to subjects with Alzheimer's disease.
This study is to determine safety and efficacy of CP-118,954 for the treatment of Alzheimer’s disease. (phase II)
Role: Site PI
Direct/total costs: $208,328/ $260,410

6. #D94-029                                                                        1995-1998 (completed)
Miles/Bayer Inc.
A double blind, placebo-controlled, multicenter pilot study to evaluate the safety and tolerability of metrifonate in
patients with probable Alzheimer's disease (phase II)
This study is to determine safety and efficacy of metrifonate for the treatment of Alzheimer’s disease. (phase II)
Role: Site PI
Direct/total costs: $117,318/ $146,648

7. #D95-018                                                                        1995-1998 (completed)
Bayer Corp.
A double blind, placebo controlled trial to evaluate the safety and efficacy of metrifonate (BAY A 9826) in patients
with probable Alzheimer's disease.
This study is to determine safety and efficacy of metrifonate for the treatment of Alzheimer’s disease. (phase III)
Role: Site PI
Direct/total costs: $195,868/ $244,836

8. #E2020-A001-312                                                                1996-1997 (completed)
Eisai America, Inc.
A 54-week, randomized, double-blind, placebo-controlled evaluation of the effects of donepezil hydrochloride
(E2020) on functional outcomes in patients with Alzheimer's disease with a staged crossover to open-label donepezil
hydrochloride.
This study is to determine safety and efficacy of donepezil for the treatment of Alzheimer’s disease. (phase IIIB)
Role: Site PI
Direct/total costs: $166,963/ $208,704

9. UO1 #AG10483                             Leon Thal (PI)                      1996-1998 (completed)
NIH/NIA/ADCS                                Mulnard (Project director)
A multicenter, double-blind, placebo-controlled study of estrogen replacement therapy in patients with mild to
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       Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 37 of 51




moderate Alzheimer's disease: A pilot study of the Alzheimer's Disease Cooperative Study (ADCS).
This study is to determine safety and efficacy of estrogen for the treatment of Alzheimer’s disease. (phase II)
Role: Site PI
Direct/indirect costs: $38,241/ $47,801

11. # CV-2619/PNFP-001                                                            1997-1999 (completed)
Takeda America, Inc.
A randomized, double-blind, placebo-controlled, twelve-month safety and efficacy trial of 120, 240, and 360 mg tid
of Idebenone (CV-2619) in patients with probable Alzheimer's disease.
This study is to determine safety and efficacy of donepezil for the treatment of Alzheimer’s disease. (phase III)
Role: Site PI
Direct/indirect costs: $167,680/ $210,400

12. BAY a 9826/D97-019                                                             1997-1998 (completed)
Bayer Corp.
Metrifonate investigational nationwide trial.
This study is to determine safety and efficacy of metrifonate for the treatment of Alzheimer’s disease. (phase IIIB)
Role: Site PI
Direct/total costs: $6,000/ $7,500

13. U01 #AG10483                              Thal (PI)                            1998-2000 (completed)
NIH/NIA/ADCS                                  Singer (Project director)
A multicenter, placebo-controlled trial of melatonin for sleep disturbance in Alzheimer’s disease.
This study is to determine safety and efficacy of melatonin for the treatment of sleep disturbance in Alzheimer’s
disease. (phase IV)
Role: Site PI
Direct/total costs: $40,500/ $54,000

14. #FA-960-0002                                                                 1999-2000 (completed)
Fujisawa Research Institute of America
A randomized, double-blind, placebo-controlled study to determine the safety and efficacy of FK960 in patients with
mild to moderate probable Alzheimer’s disease.
This study is to determine safety and efficacy of FK960 for the treatment of Alzheimer’s disease. (phase II)
Role: Site PI
Direct/total costs: $79,125/ $105,500

15. #082-99-003                                                                  1999-2000 (completed)
NeoTherapeutics, Inc.
A multicenter, randomized, double-blind, placebo-controlled study to evaluate AIT-082 in patients with probable
Alzheimer’s disease of mild to moderate severity.
This study is to determine safety and efficacy of FK960 for the treatment of Alzheimer’s disease. (phase II)
Role: Site PI
Direct/total costs: $101,250/ $135,000

16. PRG-1837                                  Cahn-Weiner (PI)                   10/1/99-12/31/01(completed)
Alzheimer’s Association
Combined behavioral and pharmacologic intervention to improve memory in Alzheimer’s disease.
This study is to determine the efficacy of a memory training program for patients with mild Alzheimer’s disease.
Role: Co-investigator
Direct/total costs: $72,728/ $80,000

17. U01 #AG10483                             Thal (PI)                            1999-2001 (completed)
NIH/NIA/ADCS                                 Aisen (Project director)
A multicenter trial of rofecoxib and naproxen in Alzheimer’s disease.
                                                          36
       Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 38 of 51




This study is to determine safety and efficacy of non-steroidal anti-inflammatory drugs for the treatment of
Alzheimer’s disease. (Phase IIB)
Role: Site PI
Direct/total costs: $63,000/ $84,000

18. #082-2001-001                                                                 2001-2002 (completed)
NeoTherapeutics, Inc.
A placebo-controlled dose-titration efficacy and tolerability study of NeotrofinTM in patients with probable
Alzheimer’s disease.
This study is to determine safety and efficacy of Neotrofin for the treatment of Alzheimer’s disease. (Phase IIB)
Role: Site PI
Direct/total costs: $163,875/ $218,500

19. IRG-99-1668                               Stern (PI)                        7/1/99-1/31/03 (completed)
Alzheimer’s Association
A double-blind study of donepezil with and without thyroid hormone in the treatment of Alzheimer’s dementia.
This study is to determine safety and efficacy of low dosage thyroid hormone for the treatment of Alzheimer’s
disease. (Phase II)
Role: Paid consultant
Direct/total costs: $163,626/ $179,898

20. U01 #AG10483                              Thal (PI)                          1998-2003 (completed)
NIH/NIA/ADCS                                  Peterson (Project director)
A randomized, double-blind, placebo-controlled trial of vitamin E and Aricept to prevent clinical progression from
mild cognitive impairment (MCI) to Alzheimer’s Disease (AD).
This study is to determine safety and efficacy of donepezil and vitamin E in preventing conversion to dementia
among subjects with mild cognitive impairment. (Phase III)
Role: Site PI
Direct/total costs: $108,000/ $144,000

21. NO1 #WH-32119                             Shumaker (PI)                     6/1/96-3/1/05 (completed)
NIH/NHLBI                                     Assaf (Site PI)
The effects of hormone therapy on the development and progression of dementia (The Women’s Health Initiative
Memory Study)
This study is to determine safety and efficacy of estrogen hormone replacement therapy in preventing conversion to
dementia among post menopausal women. (Phase III)
Role: Site Phase 3 clinician/co-investigator
Total costs: $17,060,869

22. RO1 #AG15375                               Heindel (PI)                         4/1/99-3/31/04 (completed)
NIH/NIA
Arousal, attention, and priming in Alzheimer’s disease.
This study is to understand attention related cognitive deficits and their role in memory dysfunction in patients with
Alzheimer’s disease.
Role: Co-investigator (5%)
Direct/total costs: $297,607/ $462,721

23. MEM-MD-10+11                                                                 2001-2003 (completed)
Forest Laboratories, Inc.
A randomized, double-blind, placebo-controlled evaluation of the safety and efficacy of memantine in patients with
mild to moderate dementia of the Alzheimer’s type.
This study is to determine safety and efficacy of memantine for the treatment of Alzheimer’s disease. (Phase III)
Role: Site PI
Direct/total costs: $115,200/ $144,000
                                                          37
       Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 39 of 51




24. F32 #AG20008                              Ready (PI)                        7/1/01-6/30/03 (completed)
NIH/NIA
Quality of life in cognitively impaired elderly.
This research fellowship is to understand and develop assessment instruments for quality of life in dementia.
Role: Sponsor/mentor
Direct and total costs: $63,332

25. Ittleson Foundation                      Ott (PI)                            7/16/01-2004 (completed)
Memory and attentional functional MRI activation in mild cognitive impairment patients treated with donepezil.
This pilot study is to examine changes in functional MRI related to treatment with donepezil in patients with mild
cognitive impairment.
Role: PI
Direct and total costs: $15,700

26. MEM-MD-12                                                                   5/1/02-2003 (completed)
Forest Laboratories, Inc.
A randomized, double-blind, placebo-controlled evaluation of the safety and efficacy of memantine in patients with
mild to moderate dementia of the Alzheimer’s type.
This study is to determine safety and efficacy of memantine combined with a cholinesterase inhibitor for the
treatment of Alzheimer’s disease. (Phase III)
Role: Site PI
Direct/total costs: $108,000/$144,000

27. NER-MD-01                                                                    2/4/03-2004 (completed)
Forest Laboratories, Inc.
A randomized, double-blind, placebo-controlled evaluation of the safety and efficacy of neramexane in patients with
moderate to severe dementia of the Alzheimer’s type.
This study is to determine safety and efficacy of neramexane for the treatment of Alzheimer’s disease in addition to
a cholinesterase inhibitor. (Phase II)
Role: Site PI
Direct/total costs: $115,200/$144,000

28. R21 #MH62561                             Tremont (PI)                        12/01/01-11/30/04 (completed)
A telephone intervention for dementia caregivers.
This study is to develop a telephone intervention for dementia caregivers.
Role: Paid consultant
Direct/total costs: $375,000/ $576,000

29. U01 #AG10483                             Thal (PI)                          1/15/02-2/28/07 (completed)
NIH/NIA/ADCS                                 Ferris (Project director)
Assessment measures for AD primary prevention trials.
This study is to develop telephone and mail-in instruments for use in AD primary prevention trials.
Role: Site PI
Direct/total costs: $87,550/ $109,438

30. U01 #AG10483                               Thal (PI)                          2/10/03-6/30/07 (completed)
NIH/NIA/ADCS                                   Aisen (Project director)
High dose supplements to reduce homocysteine and slow the rate of cognitive decline in Alzheimer’s disease.
This study is to determine the efficacy of folate, vitamin B6, and vitamin B12 in slowing the progression of
Alzheimer’s disease. (Phase III)
Role: Site PI
Direct/total costs: $90,000/$112,500

                                                         38
       Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 40 of 51




31. Brown University Fund                       Heindel (PI)                         6/12/03-2005 (completed)
Center for Translational Brain Research
Sensory integration deficits as cognitive markers of cortical disconnection.
This study is to investigate the utility of sensory integration as a marker for early detection and progression of AD.
Role: Co-investigator
Direct & total costs: $19,209

32. Investigator Initiated Grant               Heindel (PI)                     9/1/03-8/30/06 (completed)
Alzheimer’s Association
Behavioral and electrophysiological investigation of semantic memory in Alzheimer’s disease.
This study is to examine the relationships between semantic deficits in Alzheimer’s disease and attention using
electrophysiological event-related potentials.
Role: Co-investigator
Direct/total costs: $ 182,160

33. 1RO1 #AG016335                             Ott (PI)                          9/15/01-4/30/07 (completed)
NIH/NIA
A longitudinal study of hazardous drivers with dementia.
This study is to define the course of driving impairment in Alzheimer’s disease and develop computerized test
predictors of impaired road test performance.
Role: PI (30%)
Direct/total costs: $1,089,390/ $1,439,916

34. U01 #AG10483                              Thal (PI)                            9/1/02-9/1/07 (completed)
NIH/NIA/ADCS                                  Sano (Project director)
A multi-center, randomized, double-blind, placebo-controlled trial of simvastatin to slow the progression of
Alzheimer’s disease.
This study is to determine the safety and efficacy of simvastatin in slowing the progression of Alzheimer’s disease.
(Phase III)
Role: Site PI
Direct/total costs: $84,000/$105,000

35. #EFC2946                                                                      9/1/04-1/29/07 (completed)
Sanofi-Synthelabo Research
A randomized, multicenter, double-blind, placebo-controlled, 18-moth study of the efficacy of xaliproden in patients
with mild-to-moderate dementia of the Alzheimer’s type.
This study is to determine safety and efficacy of xaliproden for the treatment of Alzheimer’s disease. (Phase III)
Role: Site PI
Direct/total costs: $116,344/$145,430

36. MNI-187-01                               Jennings (PI)                       11/01/07-1/7/09 (completed)
Institute for Neurodegenerative Disorders
Validation of Imaging Evaluations in Individuals With Alzheimer's Disease and Healthy Subjects (VIEW-AD;
Phase 1)
This study is to evaluate multiple imaging markers for Alzheimer disease and identify SPECT ligands that most
clearly distinguish Alzheimer's disease from healthy subjects of similar age. Phase 2 will consist of a multi-site
imaging study of the most promising ligand(s).
Role: Site PI
Direct/total costs: $10,688/$14,250

37. U01 #AG10483                           Thal (PI)                              8/10/03-1/30/09 (completed)
NIH/NIA/ADCS                               Tariot (Project director)
A randomized, double-blind, placebo-controlled trial of valproate to attenuate the progression of Alzheimer’s
disease.
                                                          39
       Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 41 of 51




This study is to determine the efficacy of valproate in preventing or delaying the emergence of agitation in patients
with Alzheimer’s disease. (Phase III)
Role: Site PI
Direct/total costs: $122,000/$152,500

38. U01 #AG10483                             Thal (PI)                          1/01/07- 5/31/09 (completed)
NIH/NIA/ADCS                                 Quinn (Project director)
Effects of Docosahexaenoic Acid (DHA) in slowing the progression of Alzheimer’s disease.
This study is to determine the efficacy of DHA slowing the progression of cognitive and functional decline over 18
months in patients with mild to moderate Alzheimer’s disease. (Phase III)
Role: Site PI
Direct/total costs: $67,970/$90,625

39. B0401005                                                                      08/14/09-2010 (completed)
Pfizer
A phase 2 multicenter, double-blind placebo controlled, parallel group study of PF-04447943 in subjects with mild
to moderate Alzheimer’s disease (Phase II)
This study is to determine safety and potential efficacy of PF-04447943 for the treatment of mild to moderate
Alzheimer’s disease.
Role: Site PI
Direct/total costs: $48,120/$81,650

40. IIRG-07-59553                             Martino (PI)                       9/1/07-8/31/10 (completed)
Alzheimer’s Association
Efficacy of qEEG neurocognitive training in early-stage Alzheimer’s disease.
This project investigates the efficacy of quantitative EEG neurofeedback training as a rehabilitative behavioral
intervention for patients with mild cognitive impairment and Alzheimer’s disease.
Role: Consultant

41. #B0341002                                 Aisen (PI)                         1/15/08-08/30/10 (completed)
ADCS/Pfizer                                   Galasko (Project Director)
A double-blind, placebo-controlled, randomized, multicenter study evaluating the efficacy and safety of eighteen
months of treatment with PF-04494700 (TTP488) in participants with mild to moderate Alzheimer's disease.
This study is to determine safety and efficacy of PF-04494700 for the treatment of Alzheimer’s disease. (Phase IIb)
Role: Site PI
Direct/total costs: $143,512/$205,017

42. #18F-AV-45-A17                                                               June 2011- June 2012 (completed)
Avid Radiopharmaceuticals
Impact of florbetapir F 18 PET on the clinical diagnosis and management of patients with progressive cognitive
decline. (Phase 3b)
This study is to estimate the percentage of subjects who undergo a change in clinical diagnosis after obtaining a
florbetapir F 18 PET scan.
Role: Site PI
Total costs: $62,125

43. NIH/NIA AG036535                       Weiner (PI)                         9/01/09-8/31/12 (completed)
NIH/NIA/ADCS                               Petersen and Aisen (Protocol directors)
The Alzheimer’s disease neuroimaging initiative Grand Opportunity.
This study is to develop improved methods which will lead to uniform standards for acquiring longitudinal, multi-
site MRI and PET data on persons with early mild cognitive impairment.
Role: Site PI
Total costs: $60,250

                                                          40
       Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 42 of 51




44. #ELN115727-301 and 302                                                       12/1/07-10/31/12 (completed)
Elan Pharmaceuticals, Inc.
A multicenter, randomized, double-blind, placebo-controlled, parallel group, efficacy and safety trial of
 bapineuzumab in patients with mild to moderate Alzheimer's disease who are apolipoprotein E e4 carriers and non-
carriers. (Phase III)
This study is to determine safety and efficacy of bapineuzumab for the treatment of Alzheimer’s disease. (Phase III)
Role: Site PI
Direct/total costs: $255,200/$319,000

45. #ELN115727, WAY-203740                                                      1/1/11-12/31/2012 (completed)
Wyeth and Janssen Pharmaceutical Companies
A phase 2, randomized, double-blind, placebo-controlled, parallel group, multicenter biomarker safety, and
pharmacokinetic study of bapineuzumab (AAB-001) administered subcutaneously at monthly intervals in subjects
with mild to moderate Alzheimer disease. (Phase II)
This study is to determine safety and efficacy of subcutaneously administered bapineuzumab for the treatment of
Alzheimer’s disease. (Phase II)
Role: Site PI
Direct/total costs: $270,661; $338,326

46. 2R01 #AG016335                             Ott (PI)                           5/15/07-4/30/13 (completed)
NIH/NIA
Naturalistic assessment of driving in cognitively impaired elders.
This study is to define the basis of driving impairment in Alzheimer’s disease and develop computerized test
predictors of impaired road test performance and driving ability in the natural home environment.
Role: PI (25%)
Direct/total costs: $1,119,416/$1,506,839

47. 1R01 #NR010559-01                          Tremont (PI)                       9/28/07-5/31/13 (completed)
NIH/NINR
Psychosocial telephone intervention for dementia caregivers
This study is to determine the efficacy of a telephone-based, psychosocial intervention to improve caregiver burden
and depression in dementia caregivers.
Role: Co-Investigator (5%)
Direct/total costs: $1,269,929/$1,843,500

48. #160701                                   Aisen (PI)                         1/14/09-12/31/13 (completed)
ADCS/Baxter                                   Relkin (Project Director)
A randomized, double-blind, placebo-controlled, two dose-arm, parallel study of the safety and effectiveness of
immune globulin intravenous (human), 10% (IGIV, 10%) for the treatment of mild-to-moderate Alzheimer's disease
This study is to determine safety and efficacy of IGIV for the treatment of Alzheimer’s disease. (Phase III)
Role: Site PI
Direct/total costs: $243,544/$304,430

49. Rhode Island Hospital                      Ott (PI)                             9/01/11-10/31/13 (completed)
Video intervention for the safety of cognitively impaired older drivers.
This pilot study is to examine the effects of a video event recorder intervention to enhance safe driving in people
with questionable to mild dementia.
Role: Principal Investigator
Direct/total costs: $21,000

50. Rhode Island Hospital                     Cooper (PI)                        2011-2014 (completed)
CAFÉ: Cognitive Assessment after Fracture in the Elderly.
This study is to examine the effect of cognitive functioning and mental health on recovery from hip fracture.
Role: Consultant
                                                          41
       Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 43 of 51




51. #F-AV-45-A18
Avid Pharmaceuticals, Inc.                                                       1/2/13-2014 (completed)
A randomized, multicenter, multicountry study to evaluate the effectiveness of Florbetapir (18F) PET imaging in
changing patient management and to evaluate the relationship between florbetapir (18F) PET scan status and
cognitive decline. (Phase 4)
Role: Site PI
Direct/total costs: $79,888/$97,234

52. 1 K08 HS017735-01                         Daiello (PI)                        6/1/09-12/31/14 (completed)
AHQR
Neglected by the evidence: The intersection of medical complexity and dementia.
This is a mentored clinical science project focusing on the impact of cholinesterase inhibitor and anesthetic agents
on cognitively impaired elders with complex medical illness.
Role: Mentor
Direct/total costs: $705,500/$761,940

53. Pfizer                                   Snyder (PI)                           3/01/13-2014 (completed)
Detection of disease-related changes in pre-symptomatic Alzheimer’s disease.
This study is to explore several new non-invasive technologies to assist in the identification of older adults who are
in the pre-symptomatic phase of Alzheimer’s disease. (Phase 1)
Role: Coinvestigator

54. American Heart Association            Alosco (PI)                             2013-2015 (completed)
Cognitive impairment and driving performance in heart failure.
Predoctoral Fellowship
Role: Collaborator and Mentor

55. #BP2848
F. Hoffmann-La Roche, Ltd.                                                      1/2/13- 2014 (completed)
A multicenter, randomized, double-blind, parallel-group placebo-controlled study to investigate the efficacy and
safety of RO4602522 versus placebo, used as adjunctive treatment to the acetylcholinesterase inhibitors donepezil,
galantamine or rivastigmine in patients with moderately severe Alzheimer’s disease. (Phase 2B)
This study is to examine safety and efficacy a MAO-B inhibitor in patients with moderate stage Alzheimer’s
disease.
Role: Site PI
Direct/total costs: $158,491/$182,151

56. #H8A-MC-LZAX
Eli Lilly and Company                                                              06/24/2013-2016 (completed)
Effect of solanezumab (LY20624340), an anti-amyloid beta monoclonal antibody, on the progression of
Alzheimer’s disease as compared with placebo. (EXPEDITION 3 study). (Phase 3)
This study is to examine the safety, efficacy and tolerability of solanezumab in slowing the cognitive decline of mild
Alzheimer’s disease.
Role: Site PI
Direct/total costs: $331,710/$414,640

57. #TRx-237-005
TauRx Therapeutics Ltd.                                                          07/09/2013-2016 (completed)
Randomized, double-blind, placebo-controlled, parallel-group, 18-month safety and efficacy study of Leuco-
methylthioninium bis(hydromethanesulfonate) in subjects with mild Alzheimer’s disease. (Phase 3)
This study is to examine the safety, efficacy and tolerability of Leuco-methylthioninium in the treatment of mild
Alzheimer’s disease. (Phase 3)
Role: Site PI
                                                          42
       Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 44 of 51




Direct/total costs: $159,800/$196,160

58. #221AD103
Biogen Idec MA, Inc.                                                            1/6/13-2015 (completed)
A randomized, double-blind, placebo-controlled multiple dose study to assess the safety, tolerability,
pharmacokinetics, and pharmacodynamics of BIIB037 in subjects with prodromal or mild Alzheimer’s disease.
(Phase 1B)
This study is to examine safety, tolerability, pharmacokinetics, and pharmacodynamics of a biological agent against
beta amyloid in patients with early Alzheimer’s disease.
Role: Site PI
Direct/total costs: $162,537/$200,564

59. Canadian Institute of Health Research                                          6/2015 – 4/2016 (completed)
A collaborative international knowledge synthesis to update guidelines for determining medical fitness to operate
motor vehicles.
This study is to create a knowledge synthesis and clinical guidelines on driving risks: traumatic brain injury and
dementia.
Role: Project expert
Total costs: $100,000

60. AC-1204
Accera, Inc.                                                                      12/-01/13-2016 (completed)
26-Week Long Term Efficacy Response Trial With Optional Open-label Ext (NOURISH AD study). (Phase 4).
This study will evaluate the effects of daily dosing of AC-1204 on cognition, activities of daily living, resource
utilization, quality of life, pharmacokinetic measures and safety among participants with mild to moderate
Alzheimer's Disease.
Role: Data safety monitoring board member

61. #1R03AG046472-01                           Ott (PI)                            9/15/2014-8/31/2016 (completed)
NIH/NIA
Secondary analyses and archive of naturalistic driving data in aging and dementia.
This study is to analyze naturalistic driving data obtained from older drivers with and without dementia using
advanced GPS and computerized video programs that will result in a rich dataset that can then be compared to data
obtained from standardized on-road tests in the same individuals.
Role: Principal investigator (8%)
Direct/total costs: $146,310/$191,892

62. #MK-8931-017
Merck Sharp & Dohme Corp.                                                          06/13/13-02/14/17 (completed)
A Phase III, randomized, placebo-controlled, parallel-group, double-blind efficacy and safety trial of MK-8931 in
subjects with mild to moderate Alzheimer’s disease. (Phase 2/3)
This study is to examine the safety, efficacy and tolerability of MK-8931 in the treatment of mild to moderate
Alzheimer’s disease.
Role: Site PI
Direct/total costs: $444,420/$555,520

63. Nation’s Carelink/Univita/LTCG            Ott (PI)                            10/01/06-9/30/17 (completed)
Telephone screening for mild cognitive impairment.
This study is to determine the sensitivity and specificity of the Minnesota Cognitive Acuity Screen (MCAS) for mild
cognitive impairment.
Role: PI
Direct/total costs: $160,000/$200,000

64. #18F-AV-1451-A05
                                                          43
       Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 45 of 51




Avid Radiopharmaceuticals, Inc.                                                  1/25/14-2017 (completed)
An open label, multicenter study, evaluating the safety and imaging characteristics of 18F-AV-1451 in cognitively
healthy volunteers, subjects with mild cognitive impairment, and subjects with Alzheimer’s disease. (Phase 2)
This study is to compare 18F-AV-1451 imaging results in subjects with Alzheimer’s disease to subjects with mild
cognitive impairment and cognitively healthy older individuals and to establish a database of cognitively healthy
individuals to show the spectrum of 18F-AV-1451 imaging results in cognitively healthy individuals across a range
of age strata.
Role: Site PI
Total costs: $293,056

65. #20130385                                                                     4/2/2015- 2017 (completed)
Amgen, Inc.
A double-blind, placebo controlled, multicenter study to assess the effect of evolocumab on cognitive function in
patients with clinically evident cardiovascular disease and receiving statin background lipid lowering therapy: A
study for subjects enrolled in the FOURIER trial. Evaluating PCSK9 Binding antiBody Influence oN coGnitive
HeAlth in High cardiovascUlar Risk Subjects (EBBINGHAUS study).
This study evaluates change over time in neurocognitive testing in subjects receiving statin therapy in combination
with evolocumab (AMG 145), compared with subjects receiving statin therapy in combination with placebo.
Role: Steering committee member

66. Rhode Island Hospital                      Ott (PI)                           2/1/16 – 6/30/17 (completed)
Neurology Department
Pilot study of repetitive transcranial magnetic stimulation (rTMS) in the treatment of frontotemporal dementia.
This study is to determine if there is evidence of acute symptomatic cognitive benefits for rTMS when administered
to patients with behavioral and progressive aphasia variants of frontotemporal dementia.
Role: Principal investigator
Total costs: $38,540

67. NIH/NIA 2U01 AG024904-06               Weiner (PI)                         09/30/04 – 09/15/16 (completed)
NIH/NIA/ADCS                               Petersen and Aisen (Protocol directors)
The Alzheimer’s disease neuroimaging initiative 1, and 2.
This study is to develop improved methods which will lead to uniform standards for acquiring longitudinal, multi-
site MRI and PET data on persons with Alzheimer’s disease, mild cognitive impairment, and normal elderly.
Role: Site PI
Total costs: $233,500

68. Alzheimer’s Association                  Rabinovici (Study Chair)              4/6/2015 – 12/7/17 (ongoing)
CMS/ACR/ACRIN
The Imaging Dementia – Evidence for Amyloid Scanning (IDEAS) Study
This study of patients receiving amyloid PET scan diagnostic test results for possible Alzheimer's disease seeks to
understand the influence of having a positive test result on decisions to seek additional diagnostic testing or
treatment and the potential cost benefits.
Role: Site PI

69. Rhode Island Foundation                   Ott (PI)                             12/26/16 – 12/25/17 (ongoing)
Building the Rhode Island Alzheimer’s Disease Prevention Registry
This grant is to support personnel, advertising and printing costs for expansion of the Rhode Island Alzheimer’s
Disease Prevention Registry, including outreach to minorities and primary care physicians.
Role: PI
Total costs: $55,000

70. 5U01 #AG10483-21                      Aisen (PI)                             07/01/11 – 2017 (ongoing)
NIH/NIA/ADCS/Univita/LTCG                 Ott (Sub-Project director)
ADCS Infrastructure Support: Rhode Island Alzheimer Prevention Registry.
                                                         44
       Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 46 of 51




This sub-project is to identify potential volunteers who would be willing to participate in upcoming early
intervention and prevention trials under the sponsorship of the ADCS
Role: Site PI
Direct/total costs: $39,210/$49,013 year 1 (NIA/ADCS )
Total costs: $38,400 per year (Univita; LTCG)

71. #ADC-046-INI
NIH/NIA/ADCS                                  Craft (PI)                          11/01/13 – 2017 (ongoing)
Therapeutic effects of intranasally administered insulin in adults with amnestic mild cognitive impairment or mild
Alzheimer’s disease. (SNIFF study). (Phase 2/3)
This study is to examine the effects of intranasally administered insulin on cognition, entorhinal cortex and
hippocampal atrophy, and cerebrospinal fluid biomarkers in amnestic mild cognitive impairment or mild
Alzheimer’s disease.
Role: Site PI
Direct/total costs: $114,456/$143,076

72. #ADC-040-A4                              Aisen (PI)
NIH/NIA/ADCS                                 Sperling (Project Director)         12/01/13 – 2020 (ongoing)
Anti-amyloid treatment in asymptomatic Alzheimer’s disease (A4 Study). (Phase 3)
This study is to determine if solanezumab, administered as an intravenous infusion at a dose of 400 mg every 4
weeks for 3 years, will slow cognitive decline as compared with placebo in subjects with preclinical Alzheimer’s
disease.
Role: Site PI
Direct/total costs: $781,020/$976,275

73. #MK-8931-019
Merck Sharp & Dohme Corp.                                                          06/13/14 – 01/22/2018 (ongoing)
A randomized, placebo-controlled, parallel-group, double blind clinical trial to study the efficacy and safety of MK-
8931 in subjects with amnestic mild cognitive impairment due to Alzheimer’s disease. (Phase 3)
This study is to examine the safety, efficacy and tolerability of MK-8931 in the treatment of mild cognitive
impairment due to Alzheimer’s disease.
Role: Site PI
Total costs:$1,142,866

74. # AG0045058                           Obisesan (PI)                  07/10/17 – 2020 (ongoing)
Genes, Exercise, Neurocognitive and Neurodegeneration: Community-Based Approach.
Role: Data safety monitoring board member

75. #221AD302                                                                   07/01/15 – 2020 (ongoing)
Biogen MA Inc.
A phase 3 multicenter, randomized, double-blind, placebo-controlled, parallel-group study to evaluate the efficacy
and safety of aducanumab (BIIB037) in subjects with early Alzheimer’s disease. (EMERGE study)
This study is to evaluate the efficacy of monthly doses of aducanumab in slowing cognitive and functional
impairment in subjects with early Alzheimer’s disease.
Role: Site PI
Direct/total costs: $310,559/$388,199

76. #NPSASA-15-363629
Alzheimer’s Association                        Tremont (PI)                         9/1/15 – 8/31/18 (ongoing)
Pilot trial of a mind-body intervention for mild cognitive impairment.
This study is to determine the preliminary efficacy of a yoga intervention for improving cognition, quality of
life/emotional function, and daily living skills in individuals with mild cognitive impairment compared to the
control, healthy living education.
Role: Co-investigator (3%)
                                                         45
       Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 47 of 51




Total costs: $250,000

77. #NPSASA-15-362133
Alzheimer’s Association                        Ott (PI)                           9/1/15 – 8/31/18 (ongoing)
Video feedback intervention for cognitively impaired older drivers.
This study is to determine the efficacy of a video feedback intervention for reducing unsafe driving event frequency
in older individuals with mild cognitive impairment and early Alzheimer’s disease compared to passive monitoring.
Role: Principal investigator (6%)
Direct/total costs: $226,659/$249,324

78. #LEARN-15-338730                          Aisen (PI)                          1/01/16 – 2020 (ongoing)
USC/Alzheimer’s Association                   Sperling (Project Director)
Anti-amyloid treatment in asymptomatic Alzheimer’s disease (A4 Study). (Phase 3)
This study is to determine the natural history of cognitive change in older people who lack amyoid on PET imaging.
Role: Site PI
Direct/total costs: $202,727

79. 1R56AG053934-01                           Mor (PI)                           9/1/17 – 8/31/18 (ongoing)
NIA
Caregivers’ reactions and experience: Imaging dementia evidence for amyloid scanning (CARE-IDEAS)
This study will fill important gaps in our understanding of how informal caregivers and patients react to the results
of Amyloid PET scans as part of the IDEAS study.
Role: Consultant

80. #I8D-MC-AZET                                                                 11/14/16 – 2018 (ongoing)
Eli Lilly & Co.
Randomized, double-blind, placebo-controlled and delayed-start study of LY3314814 in mild Alzheimer’s disease
dementia (The DAYBREAK Study). (Phase 2/3)
This study is to test the hypothesis that LY3314814, administered orally at doses of 20 and 50 mg daily for 78
weeks, will slow the decline of AD as compared with placebo in patients with mild AD dementia.
Role: Site PI
Direct/total costs: $480,738

81. #54861911ALZ2003                           Sperling (PI)                      12/30/16 – 2020 (ongoing)
USC Alzheimer Therapeutic Research Institute/Janssen Research and Development, LLC
A randomized, double-blind, placebo-controlled, parallel group, multicenter study investigating the efficacy and
safety of JNJ-54861911 in subjects who are asymptomatic at risk for developing Alzheimer’s dementia. (Phase
2b/3) (The EARLY Study)
This study is to investigate the efficacy and safety of JNJ-54861911 in subjects who are asymptomatic at risk for
developing Alzheimer’s dementia.
Role: Site PI
Direct/total costs: $467,1600

82. #M15-566                                                                   01/02/17 – 2020 (ongoing)
AbbVie
A phase 2 multiple dose, multicenter, randomized, double-blind, placebo-controlled study to evaluate the efficacy
and safety of ABBV-8E12 in subjects with early Alzheimer’s disease (The AWARE Study). (Phase 2)
This study is to assess the efficacy of ABBV-8E12 in slowing disease progression (cognitive and functional
impairment) in subjects with early AD as measured by the CDR-SB and to assess long term efficacy for up to 96
weeks.
Role: Site PI
Total costs: $1,981,296

83. NIH/NIA U19AG024904                      Weiner (PI)                          09/15/16 - 7/31/17 (ongoing)
                                                           46
       Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 48 of 51




NIH/NIA/ADCS                               Petersen and Aisen (Protocol directors)
The Alzheimer’s disease neuroimaging initiative 3.
This study is to develop improved methods which will lead to uniform standards for acquiring longitudinal, multi-
site MRI and PET data on persons with Alzheimer’s disease, mild cognitive impairment, and normal elderly.
Role: Site PI
Total costs: $187,484

84. #I5T-MC-AACG                                                                  11/2/17 – 2020 (ongoing)
Eli Lilly and Company
Assessment of Safety, Tolerability and Efficacy of LY3002813 Alone and in Combination with LY3202626 in Early
Symptomatic Alzheimer’s disease (The TRAILBLAZER Study). (Phase 3)
This study is to assess the safety, tolerability and efficacy of LY3002813 alone and in combination with LY3202626
in early symptomatic Alzheimer’s disease.
Role: Site PI
Total costs: $881,500

UNIVERSITY TEACHING ROLES:

1984-1985        Introductory lectures to Harvard medical students on neurology rotation, Brigham & Women's
                 Hospital

1989-1996        BioMed 301 Clerkship in Internal Medicine

                 Introductory lectures and group case discussions in neurology for third year Brown medical
                 students rotating on medical clerkship, Roger Williams Medical Center
                 One session every three months, 1989-1995
                 Outpatient general neurology clerkship. One student every other month for one afternoon each
                 week, 1995-1996

1989-2005        BioMed 304F Clerkship in Consultative Neurology

                 Clinical teaching rotation for medical students, Roger Williams Medical Center and Memorial
                 Hospital

1990-2006        BioMed 262 Neurosciences Pathophysiology lectures

                 Revised and improved syllabus and presented lectures.
                 Toxic and Metabolic Disorders of the CNS

                 Instituted new syllabus and presented lectures.
                 Infections of the CNS

                 Revised and improved syllabus and presented lectures.
                 Aging and Dementia

1990-2006        BioMed 262 Neurosciences Pathophysiology Small Group Laboratory Session leader

                 Four to five sessions each year, 10-12 students

1993             With assistance of Dr. Sydney Louis, designed and produced a self study and assessment
                 computer program in Behavioral Neurology for medical students and housestaff.

1993-2005        BioMed 315F Clerkship in Adult Ambulatory Medicine (Neurology)

                                                        47
        Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 49 of 51




              For Brown medical students, Roger Williams Medical Center and Memorial Hospital.
              One half-day weekly over six months with one student in general neurology outpatient practice
              setting
              1998-2005       Clerkship leader

1993-         Clinical supervisor for graduate student research projects in dementia, Brown University
              Department of Psychology, at Roger Williams, Memorial and Rhode Island Hospitals

1994          Independent Clerkship in Advanced Physical Diagnosis for third year Brown medical student

1994-         Instituted new syllabi and presented lectures for University of Rhode Island course PHP 561/562,
              Advanced Human Pathophysiology I and II and PHP/BPS 312, Foundations of Human Disease I
              and II

              Pathophysiology of Pain

              Aging and Dementia

              Stroke: Ischemic and Hemorrhagic

1995          Brown University Summer FOCUS Program course, So You Think You Want to be a Doctor: An
              Introduction to Medicine, lecture to high school students

              The Neurological Examination

1997-2005     BioMed 373-374 Introduction to Clinical Medicine lecture to second year Brown medical students
              The Neurological Examination

1998-2000     University of Rhode Island Pharmacy Program course, Advanced Human Pathophysiology for
              Practitioners lectures

              Pathophysiology of Pain

              Alzheimer's Disease

              Cerebrovascular Disease

1998-         Website administrator, Department of Neurology, Brown University

2005          BioMed 372 Epidemiology for the Practice of Medicine small group laboratory leader

2007          Brown University PHP 2210 Epidemiology of Chronic Disease

              Alzheimer’s Disease lecture and discussion session

2008-         BIOL 903 So You Want To Be a Doctor

              Case and career discussions; office shadowing experience: High school seniors

2010-         BIOL 3790 Aging and Dementia
              Course leader: elective for fourth year medical students

2011-         BIOL 3795 Elective Clerkship in Neurology

                                                     48
        Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 50 of 51




              Clerkship development working group leader and later faculty member

2012-         Roger Williams University Law School: Planning for the Elderly Client and Introduction to Elder
              Law courses

              Lecture and discussion session

HOSPITAL TEACHING ROLES:

1989-2005     Two month required clinical rotation in consultative neurology for first year psychiatry residents
              from Butler Hospital, at Roger Williams Hospital & Memorial Hospitals.

1989-2005     Noon lectures, consultation rounds, and neurology elective for medical housestaff, one out of
              every two to three months, Roger Williams and Memorial Hospitals.

1990-         Alzheimer's disease and memory disorders specialty outpatient teaching clinic for third year
              neurology residents, one morning per week year round, Roger Williams, Memorial, and Rhode
              Island Hospitals

1990-2005     Supervisor/mentor, two month required clinical rotation in consultative neurology for third year
              neurology residents, Roger Williams & Memorial Hospitals.

1990-         Mentor, Neurology Residency Training Program, Rhode Island Hospital
              1990-1993       Ann Hake, MD
              2010-2013       Serggio Lanata, MD
              2016-2019       Timothy Steinhoff, MD

1992-1995     Workshop and journal club lectures in dementia diagnosis and treatment to psychiatry residents at
              Butler Hospital.

1993-1999     Internal Medicine Board Examination Review in Neurology for third year medical residents,
              Roger Williams & Memorial Hospitals. Three hour neurology review session, annual.

1994-1996     Director of Neurology Education for the Roger Williams Hospital Internal Medicine Residency.
              Compiled curriculum for neurology education, 1994.

1996-2005     Lectures and weekly case discussions for internal medicine residents, family practice residents,
              and Brown medical students, Memorial Hospital

1997-         Organizer for monthly Aging and Dementia Research seminar series
              2012- Sponsored by the Norman Prince Neuroscience Institute Aging Brain Initiative

1998-         Organizer for monthly Aging and Dementia Research Seminar Series
              1998 -- Sponsored by the Alzheimer’s disease & Memory Disorders Center
              2012 -- Co-sponsored by the Norman Prince Neurosciences Institute Aging Brain Initiative

1998-2013     Supervisor/mentor, memory disorder clinic outpatient teaching rotation for Brown University
              Geriatric Psychiatry Fellowship Training Program

1999-         Internship faculty member, Brown University Clinical Psychology Training Consortium
              2004- Research supervisor

2000-         Supervisor/mentor, memory disorder clinic outpatient teaching rotation for Brown University
              Geriatric Medicine Fellowship Training Program
                                                     49
        Case 2:12-md-02323-AB Document 9753-1 Filed 02/27/18 Page 51 of 51




2001-2003     F-32 research fellowship co-sponsor (Rebecca Reddy, PhD)

2001-2008     Steering committee member, mentor, and lecturer for the Brown University T-32 Dementia
              Research Fellowship program

2003-2004     Director and mentor, Brown University Geriatric Neurology Fellowship (Anelyssa D’abreu, MD)

2005-         Teaching attending 1-2 months per year, ward and consultation services, for neurology and
              medical housestaff and medical students, Rhode Island Hospital.

2009-2014     K-08 research career award primary mentor (Lori Daiello, PharmD)

2013-2015     Predoctoral Fellowship award mentor (Michael Alosco, PhD)

2015-         Director, Rhode Island Hospital and Warren Alpert Medical School of Brown
              University Aging and Dementia Fellowship
              2016-2018        Seth Margolis, PhD
              2017-2018        Jonathan Drake, MD
              2018-2020        Laura Korthauer, PhD




                                                    50
